           Case 4:24-cv-09104-JST           Document 19-1        Filed 04/01/25   Page 1 of 94




Kip C.S. Warner
kiD@heliosiriusic.io
CARTESIAN THEATRE CORE
2200 - 1177 West Hastings St
Vancouver, BC                                                                      APR 012025        ^
Canada V6E 2K3
                                                                            WRTH DISTRICTofEL'!P'J'’T '
                                                                                   oaklanSofrce
Pro Se Defendant

                                      UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
                                             Division: Oakland




                  COEIESITY, INC.,                               CASENO.4:24-CV-9104


                         Plaintilf,                   REQUEST FOR JUDICIAL NOTICE OF
                                                          FEDERAL COURT OF CANADA
                                 V.                        ERQCEEDING T-2636-24 AND
                                                        RELATED TRADEMARK FILINGS
      CARTESIAN THEATRE CORE, and
                     DOES 1 - 25


                         Defendant




The Defendant CARTESIAN THEATRE CORE (“CT”) respectfully requests that the Court take

judicial notice of die following documents pursuant to Fed. R. Evid. 201 and Fed. R. Civ. Proc.

44;


      1.    STATEMENT OF CLAIM filed by CT in the Federal Court of Canada on October 8,

            2024 against the Plaintiff COHESITY, INC. (“Cohesity”) as File No T-2636-24 (the

            “Canadian Proceeding”). A true and correct copy of this document is attached hereto as

            Exhibit A.


      2. NOTICE OF INTENTION TO RESPOND filed by Cohesity in the Canadian Proceeding

            on October 16, 2024. A true and coirect copy of this document is attached hereto as
         Case 4:24-cv-09104-JST           Document 19-1      Filed 04/01/25      Page 2 of 94




          Exhibit B.


   3.     STATEMENT OF DEFENCE AND COUNTERCLAIM filed by Cohesity in the

          Canadian Proceeding on November 18, 2024. A true and correct copy of this document is

          attached hereto as Exhibit C.


   4.     DEFENCE TO COUNTERCLAIM filed by CT in the Canadian Proceeding on

          December 18, 2024. A true and correct copy of this document is attached hereto as

          Exhibit D.


    5.    REPLY TO DEFENCE TO COUNTERCLAIM filed by Cohesity on January 15, 2025 in

          the Canadian Proceeding. A true and correct copy of this document is attached hereto as

          Exhibit E


   6.     CT CIPO HELIOS REGISTRATION PAGE issued to CT by the Canadian Intellectual

          Property Office on October 4, 2024 in respect to CT’s HELIOS trademark registration

          TMA1,260,843. A true and correct copy of this document is attached hereto as Exhibit F

    7.    CT USPTO HELIOS APPLICATION issued to CT by the United States Patent and

          Trademark Office on August 29, 2024 in respect to CT’s HELIOS trademark application

          serial no 98724373. A true and correct copy of this document is attached hereto as

          Exhibit G.


                                    RELEVANT AUTHORITY


Federal Rule of Evidence 201(b) allows this Court to take judicial notice of facts tliat are not

subject to reasonable dispute, in that they are capable of accurate determination by resort to

sources whose accuracy cannot reasonably be questioned. Fed. R. Evid. 201(b). Coiuts may

properly take judicial notice of judicial proceedings as matters of public record. Reyn's Pasta

Bella, LLC v. Visa USA, lnc.,AA2 F.3d 741, 746, n.6 (9th Cir. 2006) (“ITe may take judicial
     Case 4:24-cv-09104-JST            Document 19-1          Filed 04/01/25       Page 3 of 94




notice of court filings and other matters ofpublic record.'’’). Federal Rule of Evidence 201(c)

further provides that the Court '^must take judicial notice if a party requests it and the court is

supplied with the necessary information." Fed. R. Evid. 201(c)(2). It is therefore appropriate for

the Court to take notice of the fact that the aforementioned documents were entered by the


Federal Court of Canada on tlie dates noted above.


                                                                       Respectfully submitted.

Dated; 24 March, 2025

                                                                          By:

                                                               Kip C.S. Waiher
                                                               kiD@heliosimisic.io
                                                               CARTESIAN THEATRE CORE

                                                               2200 - 1177 West Hastings St
                                                               Vancouver, BC
                                                               Canada V6E 2K3


                                                               Pro Se Defendant
Case 4:24-cv-09104-JST   Document 19-1   Filed 04/01/25   Page 4 of 94




                EXHIBIT A
    Case 4:24-cv-09104-JST            Document 19-1          Filed 04/01/25       Page 5 of 94




                                                                 Court File No. T-2636-24




                                        FEDERAL COURT

BETWEEN:

                                CARTESIAN THEATRE CORP.

                                                                                         PLAINTIFF


AND

                                         COHESITY, INC.

                                                                                      DEFENDANT




                                    STATEMENT OF CLAIM



TO THE DEFENDANT;

A LEGAL PROCEEDING HAS BEEN COMMENCED AGAINST YOU by the Plaintiff.
The claim made against you is set out in the following pages.

IF YOU WISH TO DEFEND THIS PROCEEDING, you or a solicitor acting for you are
required to prepare a statement of defence in Form 171B prescribed by the Federal
Courts Rules, serve it on the plaintiffs solicitor or, if the plaintiff does not have a
solicitor, serve it on the plaintiff, and file it, with proof of service, at a local office of this
Court

   WITHIN 30 DAYS after the day on which this statement of claim is served on you, if
   you are served in Canada or the United States; or
   WITHIN 60 DAYS after the day on which this statement of claim is served on you, if
   you are served outside Canada and the United States.
   TEN ADDITIONAL DAYS are provided for the filing and service of the statement of
   defence if you or a solicitor acting for you serves and files a notice of intention to
   respond in Form 204.1 prescribed by the Federal Courts Rules.

Copies of the Federal Courts Rules, information concerning the local offices of the Court
and other necessary information may be obtained on request to the Administrator of this
Court at Ottawa (telephone 613-992-4238) or at any local office.
   Case 4:24-cv-09104-JST       Document 19-1       Filed 04/01/25      Page 6 of 94




   IF YOU FAIL TO DEFEND THIS PROCEEDING, judgment may be given against
you in your absence and without further notice to you.


 Dated:                                Issued by:
                                                         (Registry Officer)

                                       Address of local office:

                                       Pacific Centre
                                       P.O. Box 10065
                                       701 West Georgia Street
                                       Vancouver, BC     V7Y1B6




 TO:        The Administrator
            THE FEDERAL COURT OF CANADA



 AND TO:    Cohesity, Inc.
            251 Little Falls Drive
            Wilmington, New Castle
            Delaware 19808
            United States of America
      Case 4:24-cv-09104-JST         Document 19-1      Filed 04/01/25       Page 7 of 94




CLAIM


 1.      THE PLAINTIFF CLAIMS:


         (a)   a declaration that the Defendant has infringed and is deemed to have
               infringed the Plaintiff’s exclusive rights in the Helios Trademark as
               defined below, contrary to sections 19 and 20 of the Trademarks Act:

         (b)   a declaration that the Defendant has used the Helios Trademark in a

               manner likely to have the effect of depreciating the value of the goodwill
               attaching thereto, contrary to section 22 of the Trademarks Act:

         (c)   a declaration that the Defendant has directed public attention to their
               services and business in such a way as to cause or to be likely to cause
               confusion in Canada between the Defendant’s services and business

               and the goods, services and business of the Plaintiff, contrary to section
               7(b) of the Trademarks Act and the tort of passing off;

         (d)   a declaration that the Defendant has passed off their goods and services
               as and for those of the Plaintiff, contrary to section 7(c) of the
               Trademarks Act:


         (e)   interlocutory and permanent injunctions restraining the Defendant, by
               itself and its servants, workmen, agents, contractors, and employees,
               and technology partners and all resale partners as defined in article 1.2
               of Cohesity’s Global Terms and Conditions from directly or indirectly:

               (i)     further infringing the Helios Trademark;

               (ii)    using   the   Helios    Trademark,   and   any     words,    or
               combination     of words,      or any other design,      likely to   be
               confusing with the Helios Trademark, as or in a trademark or
               trade name, or for any other purpose;


               (iii)   depreciating the value of the goodwill attaching to the
Case 4:24-cv-09104-JST       Document 19-1        Filed 04/01/25     Page 8 of 94




         Helios Trademark;



         (iv)    directing public attention to any of the Defendant’s
         services in such a way as to cause or to be likely to cause
         confusion between services and business of the Defendant and

         the goods, services and business of the Plaintiff; and

         (V)     passing off the Defendant’s services as and for those of
         the Plaintiff;


   (f)   damages or an accounting of profits, which may exceed $100,000, as
         the Plaintiff may, after due inquiry and full discovery, elect;

   (g)   exemplary, aggravated and punitive damages;

   (h)   pre-judgment and post-judgment interest on such damages or profits
         from the date they arose to the date of payment;

   (i)   an Order directing that the Defendant, at its own expense and within a
         time and upon such terms as may be fixed by this Honourable Court,
         destroy all articles in its possession, custody or power which offend in
         any way against any order which is made herein, and provide the
         Plaintiff with a signed representation under oath that such destruction
         has taken place;

   G)    an Order directing that the Defendant, at its own expense and within a
         time and upon such terms as may be fixed by this Honourable Court,
         remove any social media accounts bearing the Helios Trademark and
         remove all other publications bearing the Helios Trademarks          or any

         words, or combination of words, or any other design, likely to be
         confusing with the Helios Trademark;


   (k)   the Plaintiffs costs of the action on a solicitor-client scale together with
       Case 4:24-cv-09104-JST         Document 19-1      Filed 04/01/25     Page 9 of 94




                   the Plaintiffs disbursements;


            (I)    all applicable taxes; and

            (m)    such further and other relief as to this Honourable Court may seem just.




FACTUAL BASIS


 The Parties



1.        The Plaintiff, Cartesian Theatre Corp. ("CT"), is a federally incorporated company
          and registered in British Columbia with a delivery office located at 1750 - 1055
          West Georgia Street, RO. Box 11125, in the City of Vancouver, in the Province of
          British Columbia, V6J 3M3.

2.        The Defendant, Cohesity, Inc. (“Cohesity") is a company incorporated under the
          laws of the State of Delaware, United States of America. Its registered agent

          office is located at c/o Corporation Service Company, 251 Little Falls Drive, in the
          City of Wilmington, in the State of Delaware 19808, in the United States of
          America.


     Business of the Plaintiff



 2.         CT is an independent software vendor (“ISV”) in the business of developing and
            marketing software for commercial and other applications.

 3.         CT has developed a U.S. patented and Canadian patent-pending software
            technology known as Helios (“CT Hellos”). CT Helios is an Al-powered data
            management platform that combines several functions like analytics, large
            volumes of managed data in a single platform with respect to music. CT Helios
            targets enterprise customers amongst others for its music data management
            system.

 4.         CT owns the following registered Canadian trademark,           incorporating the
     Case 4:24-cv-09104-JST         Document 19-1     Filed 04/01/25     Page 10 of 94




         element “Helios” (the “Helios Trademark”):

         Trademark:                   Registration Number:       Jurisdiction


         HELIOS                       TMA1,260,843               Canada


5.       The Helios Trademark is registered for use in Canada in association with a
         range of goods and services such as computer software and databases for use
         in analyzing music data.

6.       CT has performed, and continues to perform, resource intensive, research
         development, and related business activities in respect to CT Helios since
         2015.


7.       CT adopted and used Helios as its trade name (“Helios Trade Name”) in
         association with the advertisement and sale of its goods and services in
         Canada since 2016.


8.       CT sought to register the Helios Trade Name with the Canadian Intellectual
         Property Office (“ClPO”) for the “HELIOS” standard characters and with
         international classifications 9 and 42.      On   February 25, 2020, CT filed
         application 2013787 (the “CT Application”). An Approval Notice was issued on
         June 21,2024. The CT Application was then advertised in Vol. 71 Issue 3638 of
         the Trademarks Journal on July 17, 2024. No opposition proceeding was
         commenced during the advertising period, which closed on September 17,
         2024, with the statutory rights of registration becoming available per section 40
         of the Trademarks Act.


9.      As a result of CT's longstanding usage of the Helios Trade Name and Helios
         Trademark and the high quality of its goods and services, the Helios Trade
         Name and Helios Trade Mark is known in industry.       It is closely identified with
         CT and represents valuable goodwill in Canada.

10.      By virtue of the Helios Trademark and Helios Trade Name, CT has the
  Case 4:24-cv-09104-JST            Document 19-1   Filed 04/01/25    Page 11 of 94




       exclusive right to advertise, offer for sale and sell goods and services in
       association with the Helios Trademark and Helios Trade     Name in Canada. By
       virtue of the trademark registration for the Helios Trademark, the Plaintiff also
       has the right to preclude others from:

       (i) using the Helios Trademark, or any other trademarks, trade names, words or
       designs likely to be confusing therewith; and

       (ii) using the Helios Trademark in a manner likely to depreciate the value of the
       goodwill attaching thereto.

11.    Further, by virtue of the reputation and goodwill associated with the Helios
       Trademark and Helios Trade Name, the Plaintiff has the right to prevent others

       from using the same or confusingly similar trademarks or trade names, in
       association with or in connection with goods, services or a business likely to
       cause confusion or to create a deception as to the source of those goods,
       services or business.


12.    The Helios Trade Name and the Helios Trademark has been continuously used

       by CT in Canada and has never been abandoned.

Defendants’ infringing activities

13.    Cohesity is also an ISV that develops and markets commercial software to
       businesses.


14.    Since on or about August 21, 2018, the Defendant has been offering, selling
       and advertising an Al-driven data management platform and related services
       for data management similar to that of CT in Canada (the “Impugned
       Services”) under the name “Helios” and “Cohesity Helios” that is confusingly
       similar to the Helios Trademark and Helios Trade Name (the “Infringing
       Names”).

15.    The Impugned Services and Infringing Names relate to an Al-driven data
       management platform, which combines several functions like analytics of large
  Case 4:24-cv-09104-JST       Document 19-1        Filed 04/01/25     Page 12 of 94




      volumes of managed data and backup, through a single platform.

16.   In addition, the Defendant has used the Infringing Names in association with
      the advertisement and performance of the Impugned Services on internet-
      based platforms targeted at Canadian consumers. In particular, the Infringing
      Names are and have been displayed and used by the Defendant               on   their
      website, social media platforms, and through its various partner resellers.

17.   According to the Canadian Trademarks Database, Cohesity’s application
      2334939 to trademark “HELIOS” standard characters was filed on January 23,

      2024 and Cohesity’s application 2349560 to trademark “COHESITY HELIOS”
      standard    characters   was   filed   on   September    12,   2024    (“Cohesity’s
      Applications”). Both sought protection for international classifications 9 and 42.

18.   As of the date of this pleading Cohesity’s Applications have not been examined
      approved, or registered for use in Canada.

19.   Cohesity was at all materials times aware, knew, or had reasonable grounds for
      knowing that the Helios Trade Name had been extensively used by CT in
      Canada, and that substantial goodwill and reputation was attached to the Helios
      Trade Name in the minds of consumers.


20.   The CT Application, the Helios Trade Name and CT’s rights therein were
      brought to the attention of Cohesity by letter dated August 12, 2024 (the “Initial
      Notice”).

21.   The   Initial Notice was delivered to Cohesity during the CT Application
      advertising period which did not close until September 17, 2024, allowing
      Cohesity to initiate an opposition proceeding if it wished to do so.

22.   Cohesity chose not to pursue opposition proceedings to CT’s Application.

23.   At no time has Cohesity sought or received authorization by CT to use the
      Helios Trade Name or Helios Trademark for any goods or services in Canada.
  Case 4:24-cv-09104-JST        Document 19-1        Filed 04/01/25       Page 13 of 94




24.   CT has demanded that the Defendant cease using the Helios Trade Name and
      the Helios Trademark and any other similar names or trademarks that are
      confusingly similar thereto. Notwithstanding, CT’s demands. Cohesity and its
      resellers continue to use the Infringing Names to advertise, offer for sale, and
      sell the Impugned Services in Canada.

Confusion


25.   Both CT and Cohesity are engaged in a similar business offering similar
      products and services in the same geographic area.          The products, services
      and business model of CT and Cohesity substantially overlap, as do their
      partners and targeted customers.

26.   The use of the Infringing Names and offer and sale of the Impugned Services
      by the Defendant has caused confusion and is likely to cause confusion in
      Canada    between   the   Defendant’s     services and   business    and the goods,
      services and business of the Plaintiff.

27.   In particular, CT’s Helios Trade Name and its Helios Trademark and the
      Defendant’s use of the Infringing Names and Impugned Services are both in
      association with goods and services that include the following similarities:

      (a)    Software products for managing large volumes of managed data;

      (b)    Capability to search and analyze large volumes of managed data;

      (c)    Target enterprise customers (“B2B”);

      (d)    Encourage adoption in the media and entertainment space;

      (e)    Integrate machine learning or artificial intelligence capabilities;

      (f)    Adopt a software-as-a-service (“SaaS”) licensing scheme:

      (g)    Allow a platform-as-a-service (“PaaS”) deployment:

      (h)    Allow on-premise deployment:

      (i)    Available as white label products;

      (j)    Share several of the same prominent corporate partnerships that market
  Case 4:24-cv-09104-JST          Document 19-1     Filed 04/01/25     Page 14 of 94




             promote, distribute, or provide support for both CT Helios and the
             Impugned Services and Infringing Names; and

      (k)    Such further particulars as may be provided.

28.   The quality of the services advertised, offered for sale, and/or sold by the
      Defendant differs from the quality of the Plaintiffs legitimate goods and services
      in material respects. Accordingly, the Defendants’ use of the Infringing Names
      depreciate the value of the goodwill attached to the Helios Trademark and the
      Helios Trade Name.


Damages


29.   The Defendant has used the Infringing Names for a business purpose, namely,
      to profit commercially from the substantial goodwill and reputation attached to
      the Helios Trademark and Helios Trade Name in the minds of consumers.


30.   The use of the Infringing Names and offer and sale of the Impugned Services
      have depreciated the value of the goodwill and reputation of the Helios
      Trademark and Helios Trade Name, and will continue to result in loss by and

      damages to the Plaintiff.

31.   The Plaintiff is unaware of the full extent of the Defendant’s acts of infringement

      and passing off. Full particulars of the Defendant’s acts of infringement and
      passing off are within the knowledge of the Defendant and not within the
      knowledge of the Plaintiff. The Plaintiffs claim is in respect of all infringing and
      passing off activities of the Defendant.

32.   By reason of the aforesaid acts of the Defendant, the Defendant has made and
      will make a profit, and the Plaintiff has suffered and will continue to suffer
      damages, until the Defendant is restrained.

33.   The aforesaid activities of the Defendant will continue and/or recur unless

      restrained by this Honourable Court.
  Case 4:24-cv-09104-JST                Document 19-1      Filed 04/01/25         Page 15 of 94




34.      The Plaintiff claims monetary relief that exceeds $50,000, exclusive of interest
         and costs.


35.      This action is not being proceeded with as a simplified action as the claim is not
         exclusively for monetary relief in an amount not exceeding $100,000, exclusive
         of interest and costs.


36.      The Plaintiff proposes that this action be tried at Vancouver, British Columbia.

Dated:     October 7, 2024



                                                    We5(tpoint Law Group
                                                        Barristers & Solicitors
                                                    Suite 2200, 1177 West Hastings Street
      07-OCT-2024                                   Vancouver, B.C. V6E 3T4
         08-OCT-2024
                                                        Polina H. Furtula
                           Digitally signed by
               Fitter,     Fitter, Natasha
                           Date; 2024.10.08
             Natasha       14:45:24 -07'00'
                                                    Telephone: 604-718-6886
                                                        Email: service@westpointlawqroup.com

                                                        Email: leQal@cartesiantheatre.com



                                                        Solicitor for the Plaintiff



TO:             The Administrator
                THE FEDERAL COURT OF CANADA



AND TO:
                 Cohesity, Inc.
                 251 Little Falls Drive
                 Wilmington, New Castle
                 Delaware 19808
                 United States of America
Case 4:24-cv-09104-JST   Document 19-1   Filed 04/01/25   Page 16 of 94




                 EXHIBIT B
Case 4:24-cv-09104-JST          Document 19-1        Filed 04/01/25      Page 17 of 94




                                                             Court File No. T-2636-24


                                 FEDERAL COURT


 BETWEEN:


                          CARTESIAN THEATRE CORP.
                                                                               Plaintiff



                                        - and -



                                  COHESITY, INC.

                                                                             Defendant



                     NOTICE OF INTENTION TO RESPOND



 The Defendant intends to respond to this action.

 Dated this 16'’’ day of October 2024




                                              COWLING WLG (CANADA) LLP
                                              160 Elgin Street, Suite 2600
                                              Ottawa, Ontario KIP 1C3

                                              Monique Couture
                                              Monique.Couture@gowlingwlg.coin

                                              Martha J. Savoy
                                              Martha.savov@,tiow lingwlg.com

                                              Tel: 613-233-1781
                                              Fax: 613-563-9869


                                              Solicitors for the Defendant
Case 4:24-cv-09104-JST       Document 19-1     Filed 04/01/25   Page 18 of 94




 TO:        THE ADMINISTRATOR
            Federal Court
            Pacific Centre
            701 W Georgia St
            Vancouver. BC
            V7Y 1K8



 AND TO:    WESTPOINT LAW GROUP
            Barristers & Solicitors
            Suite 2200. 1177 West Hastings Street
            Vancouver, B.C.
            V6E 3T4


            Polina H. Furtula
            scrvice@westDointlawgroup.com


            Tel: 604-718-6886


            Solicitors for the Plaintiff
Case 4:24-cv-09104-JST   Document 19-1   Filed 04/01/25   Page 19 of 94




                EXHIBIT C
Case 4:24-cv-09104-JST    Document 19-1   Filed 04/01/25    Page 20 of 94




                                                Court File No. T-2636-24

                           FEDERAL COURT



 BETWEEN:



                         CARTESIAN THEATRE CORP.

                                                                  Plaintiff

                                 -and-



                            COHESITY, INC.
                                                                Defendant




 AND BETWEEN:

                            COHESITY, INC.
                                                 Plaintiff by Counterclaim


                                 -and-



                         CARTESIAN THEATRE CORP.



                                               Defendant by Counterclaim




            STATEMENT OF DEFENCE AND COUNTERCLAIM
Case 4:24-cv-09104-JST          Document 19-1          Filed 04/01/25         Page 21 of 94




                           STATEMENT OF DEFENCE



       Except where expressly admitted herein, the Defendant, Cohesity, Inc.
       (“Cohesity”), denies each and every allegation in the Statement of Claim and
       puts the Plaintiff, Cartesian Theatre Corp. (“Cartesian”) to the strict proof
       thereof.


 2.    Cohesity admits the allegations contained in the first paragraph 2 of the
       Statement of Claim under the heading “The Parties”, and paragraph 22 of the
       Statement of Claim.


 3.    Cohesity denies the allegations in paragraph l(a)-(m), the second paragraph 2
       of the Statement of Claim under the heading “Business of the Plaintiff’, and
       paragraphs 3-21 and 23-36.

 4.    Cohesity has no knowledge of, and therefore denies, the allegations contained
       in the second paragraph 1 of the Statement of Claim under the heading “The
       Parties”.


 5.    Cohesity specifically denies that the Plaintiff is entitled to any of the relief
       claimed in paragraph 1(a) - (m) of the Statement of Claim. Cohesity denies
       that the Plaintiff has suffered any loss or damage and therefore asserts that even
       if the Plaintiff succeeds in this action in whole or in part it is not entitled to any

       of the relief claimed in paragraph 1(a) - (m) of the Statement of Claim.

 6.    With respect to paragraphs 1(f), 34 and 35 of the Statement of Claim
       specifically, the Plaintiff has improperly exaggerated its claim for monetary
       relief as exceeding $100,000 in order to avoid the mandatory operation of
       Federal Courts Rules 292 and 294 to 299. To the extent the Plaintiff is entitled

       to any monetary relief, which is denied, such entitlement is to an amount that
       is less than $100,000. As such, and for the additional reasons stated below,

       Cohesity seeks solicitor-client costs against the Plaintiff, irrespective of the
       outcome of the Claim and Cohesity’s counterclaim.



                                             2
Case 4:24-cv-09104-JST        Document 19-1         Filed 04/01/25       Page 22 of 94




 7.    With respect to paragraph 1(g) of the Statement of Claim specifically, Cohesity
       denies that the Plaintiff is entitled to any exemplaiy, aggravated or punitive
       damages. Cohesity vehemently denies the allegation that its conduct warrants
       any such damages. Cohesity has at all times conducted itself in good faith. The
       Plaintiffs allegations in this regard are baseless, and as a result, Cohesity
       claims costs at the highest amount that this honourable Court will allow.

 The Defendant Cohesity, Inc.

       Cohesity is a corporation incorporated pursuant to the laws of the State of
       Delaware. United States of America with a place of business at 300 Park
       Avenue, San Jose, California, 95110. Cohesity was founded in 2013 and then
       publicly launched in June 2015, at which time it adopted and began using the
       COHESITY trademark.


 9.    Cohesity is one of the largest and fastest growing providers of artificial
       intelligence-powered data security and data management software solutions.
       Cohesity’s goods and services are designed to secure, protect, manage and gain
       valuable insights and analytics from data stored in global computer networks
       across local, remote, edge and cloud computing networks. Cohesity provides
       its services to all manner of businesses, institutions and government agencies

       with substantial data management needs both in Canada and around the world.
       This includes many of the world’s most sophisticated and widely recognized
       companies, including nearly half of the companies listed on the Fortune 100
       list.


 10.   Since at least as early as June 2015, Cohesity has broadly and consistently used
       its COHESITY trademark in association with the advertisement, promotion,
       sale, and performance of its products and services. Through extensive use and
       promotion by Cohesity for more than a decade. Cohesity’s COHESITY
       trademark has become well known to Canadian consumers and has attracted

       exceptional reputation and goodwill to the benefit of Cohesity.




                                          3
Case 4:24-cv-09104-JST          Document 19-1        Filed 04/01/25     Page 23 of 94




  11.   Cohesity has consistently been recognized for its high-quality products and
        services and has earned numerous rankings year over year including:

        a.   named to the Forbes 2024 Cloud 100, the definitive ranking of the top 100
             private cloud companies in the world;

        b.   named as a Leader in the Gartner Magic Quadrant for Enterprise Backup
             and Recovery Software Solutions for four years in a row;

        c.   named in the Gartner Peer Insights Customers’ Choice for Enterprise
             Backup and Recovery Software Solutions for six years in a row;

        d.   named HPE Global Momentum Technology Partner of the Year;

        e.   among CRN’s Security 100, Storage 100, and Cloud 100 Companies for
             2024;

        f.   among CRN’s inaugural A1 100 Companies for 2024;

        g-   earned a five-star rating in CRN’s 2024 Partner Program Guide for five
             years in a row;

        h.   named a Leader in the IDC MarketScape for Worldwide Cyber Recovery;

        1.   selected in D.A. Davidson & Co.’s The Heard report for 2024. recognizing
             the top 100 private software companies globally;

        J-   awarded the NorthFace Scoreboard Award for excellence in customer
             service for eight years in a row;

        k.   named the Gold Winner for Best User Interface at the 2023 London Design
             Awards;

             designated a 2023 Leader in the Omdia Universe: Protecting and
             Recovering Data in the Cloud Era, 2022-23 report;

        m.   ranked among the top four vendors in the industry and as an Outperformer
             in the 2023 GigaOm Radar Report for Enterprise Scale-Out File Systems;

        n.   named a Leader in The Forrester Wave: Data Resilience Solution Suites,
             Q4 2022 report;

        0.   recognized for Helios in NetworkWorld’s Hot Products at VMworld 2018;
             and


        P-   honored for Helios as a TechTarget 2018 Best of VMworld Finalist in the
             Data Protection category.



                                             4
Case 4:24-cv-09104-JST         Document 19-1        Filed 04/01/25       Page 24 of 94




 Cohesity’s Helios Goods and Services

 12.    Cohesity’s Helios products and services are a software-based management
        solution that enable customers to view and manage their data and applications
        from a single dashboard. The Helios solution consolidates secondary data and
        applications, such as backup, test / development, archives and analytics all in
        a single unified user interface. The Helios platform allows businesses to view,
        manage, and secure their global data and software applications, no matter
        where they may be located across a business’s many and various computer
        networks.   In addition, Cohesity’s Helios offering includes downloadable
        software for data management and data storage. Software may be downloaded
        from Cohesity’s online marketplace, or users may download the COHESITY
        HELIOS mobile app from the Apple App Store.

 13.    In 2024, Cohesity filed Canadian Trademark Application No. 2334939 for
        HELIOS and No. 2349560 for COHESITY HELIOS (the “Cohesity Marks”)
        for the goods and services listed in the applications (the “Cohesity Goods and
        Services”) all as detailed at Schedule A.

 14.    Cohesity has used the Cohesity Marks in Canada since at least as early as
        August 2018 in association with the Cohesity Goods and Services. As a result
        of Cohesity’s continuous and extensive use and promotion of the Cohesity
        Marks in connection with the Cohesity Goods and Services, and the
        commercial success of the Cohesity Goods and Services the Cohesity Marks
        have become well known in Canada and have developed significant reputation
        and goodwill to the benefit of Cohesity.

 The Plaintiffs Alleged Rights

 15.    With respect to paragraph 4 of the Statement of Claim, Cohesity admits only
        that the Canadian Intellectual Property Office records indicate that Cartesian
       Theatre Corp. is the Registrant for Canadian Trademark Registration No.
       TMA 1,260,843 but otherwise denies the allegations in this paragraph.



                                           5
Case 4:24-cv-09104-JST         Document 19-1            Filed 04/01/25     Page 25 of 94




        Cohesity specifically denies that Canadian Trademark Registration No.
        TMA1,260,843 is valid or was ever validly issued in the name of the Plaintiff.
        Cohesity also denies that the Plaintiff enjoys the rights that are pleaded at
        paragraph 10 of the Statement of Claim.

 16.    With respect to paragraphs 5 and 8 of the Statement of Claim, Cohesity admits
        that Cartesian Theatre Corp. filed Canadian Trademark Application No
        2013787,     which   resulted   in   Canadian      Trademark   Registration   No.
        TMA 1,260,843 but othei*wise denies the allegations in these paragraphs. The
        goods and services listed in TMA 1,260,843 are expressed very narrowly and
        highly tailored to the music industry, covering:

                 Computer software and databases for use in analyzing music
                SoftMwe as a ser\>ice for music analysis and management: advisoiy
                sen’ices in the ifeld of music software development


  17.   With respect to paragraphs 6 and 7 of the Statement of Claim Cohesity denies
        that the Plaintiff has used HELIOS as a trademark or a trade name in Canada.

        The Plaintiff has no customers, or clients, and its products and services are not
        and were not available in Canada. Cohesity states that “research, development
        and related business activities” do not constitute use of a trademark pursuant

        to section 4 of the Trademarks Act R.S.C. 19856, c. T-13 (the '"Trademarks

        AcC). If the Plaintiff has used HELIOS in Canada, which is denied, any such
        use commenced in 2020 and has been limited to software that searches music

        libraries.


 18.    Cohesity specifically denies the allegations at paragraphs 9 through 12 of the
        Statement of Claim. The Plaintiff has not used HELIOS as a trademark or a

        trade name in Canada, it is not known in any industry, the Plaintiff has no
        reputation or goodwill in HELIOS, and HELIOS is not distinctive of the
        Plaintiff The Plaintiff therefore has no enforceable rights in HELIOS.




                                             6
Case 4:24-cv-09104-JST         Document 19-1          Filed 04/01/25       Page 26 of 94




 No Trademark Infringement, Passing Off or Depreciation of Goodwill

 19.   Cohesity specifically denies the allegations at paragraphs 13 through 28 of the
       Statement of Claim. Cohesity states that there is no infringement, passing off
       or deprecation of goodwill of any rights of the Plaintiff as a result of Cohesity’s
       use of the Cohesity Marks.

 20.   The Cohesity Marks are not confusing with, nor likely to be confused with any
       alleged trademark of the Plaintiff including Canadian Trademark Registration
       No. TMAl,260,843 for HELIOS.


 21.   With respect to paragraphs 21 and 22 of the Statement of Claim Cohesity states
       that it did not oppose Canadian Trademark Application No. 2013787 because
       there is no likelihood of confusion between the HELIOS trademark and

       Cohesity’s Cohesity Marks.

 22.   The Plaintiffs rights if any in the HELIOS trademark, which rights are denied,
       are limited to the highly specific field of music analysis, music management
       and music software development. The Plaintiffs rights do not extend to cover
       all software, or all data management products and services. The Plaintiff is
       decidedly overreaching by way of this action. Moreover, the Plaintiff cannot
       assert exclusive rights to HELIOS per se in Canada. There are myriad HELIOS
       trademarks on the Canadian Trademark Register and used in the Canadian
       marketplace for various goods and services as shown in attached Schedule B
       such that the Plaintiffs rights in HELIOS are very narrow.

 23.   With respect to paragraphs 14, 25 and 27 of the Statement of Claim, Cohesity
       specifically denies that the Cohesity Goods and Services are similar to any
       product or service of the Plaintiff. Cohesity is not and has never been in the
       business of music analysis, music management, or consulting in the field of
       music software development. Cohesity’s Goods and Services are offered
       exclusively through Cohesity and its channel network. They are marketed and
       sold to businesses, institutions and government agencies with vast data



                                            7
Case 4:24-cv-09104-JST         Document 19-1            Filed 04/01/25      Page 27 of 94




       management needs. In contrast, the Plaintiffs customers, if any, are interested
       in music identification and selection. The fundamental nature of the goods,

       services and business, and the channels of trade of the Plaintiff and Cohesity

       therefore differ significantly.

 24.   With respect to paragraph 26 of the Statement of Claim, Cohesity specifically
       denies that there has been any confusion in the marketplace as a result of
       Cohesity’s use of the Cohesity Marks for the Cohesity Goods and Services.
       HELIOS is typically used by Cohesity in conjunction with Cohesity’s well
       known COHESITY trademark. There is no likelihood of confusion as it is

       abundantly clear to consumers that the source of the Cohesity Goods and
       Services is Cohesity.

 25.   To the extent that there has been any use by the Plaintiff of HELIOS, which is
       denied, Cohesity’s Cohesity Marks and the Plaintiffs alleged HELIOS mark
       have coexisted in the marketplace without any instances of confusion.

 26.   The Plaintiff has not used the HELIOS trademark and            does not enjoy any
       goodwill in HELIOS in Canada so as to be able to sustain a cause of action
       under either sections 7(b) or 7(c) of the Trademarks Act and these claims ought
       therefore to be dismissed.        Cohesity has not directed public attention to its
       goods, services or business in such a way as to cause or be likely to cause
       confusion in Canada with the Plaintiffs goods, services or business nor has it
       passed off its goods and services as and for those of the Plaintiff. The Plaintiff
       has no goodwill in the HELIOS trademark, there has been no misrepresentation
       by Cohesity, and the Plaintiff has not suffered any damage.

 27.   With respect to paragraph 28 of the Statement of Claim, Cohesity denies that
       it has depreciated the value of any alleged goodwill in Canadian Trademark
       Registration No. TMA1,260,843 contrary to section 22 of the Trademarks Act.
       The Plaintiff has not used the HELIOS trademark and has no goodwill          in the
       mark. Given the disparate businesses of Cohesity and the Plaintiff, use by
       Cohesity of the Cohesity Marks has no effect on any alleged goodwill of the


                                               8
Case 4:24-cv-09104-JST           Document 19-1       Filed 04/01/25       Page 28 of 94




       Plaintiff and the Plaintiff has suffered no damage. Cohesity states specifically
       that Cohesity’s award winning products and services are of high quality.

 28.   Cohesity requests that the action be dismissed in its entirety with costs awarded
       to Cohesity at the highest amount that this honourable Court will allow.




                                  COUNTERCLAIM



 29.   Cohesity claims:

       (a) a Declaration that:

              (i)   Canadian Trademark Registration No. TM A1,260,843 for HELIOS
                    is invalid and unenforceable pursuant to section 18 of the
                    Trademarks Act. on the grounds that the application for registration
                    was filed in bad faith;


             (ii) regardless of whether or not Canadian Trademark Registration No.
                    TMA 1,260,843 is struck or declared invalid, a Declaration that

                    Cohesity’s use or promotion of HELIOS, COHESITY HELIOS or
                    any other trademark incorporating HELIOS in association with the
                    Cohesity Goods and Services does not violate any right of the
                    Defendant by Counterclaim, including for the reason that all such
                    conduct is not contrary to sections 7, 19.20 or 22 of the Trademarks
                    Act\


            (iii) the Defendant by Counterclaim has made false and misleading
                    statements tending to discredit Cohesity’s business, goods and
                    services in violation of section 7(a) of the Trademarks Act;

             (iv) The Defendant by Counterclaim has made representations to the
                    public that are false and misleading in a material respect for the
                    purpose of promoting the supply or use of the Defendant by
                    Counterclaim’s products and for the purpose of promoting the


                                              9
Case 4:24-cv-09104-JST        Document 19-1            Filed 04/01/25       Page 29 of 94




                  Defendant by Counterclaim’s business interests all contraiy to
                  Section 52 oiiht Competition Act, R.S.C., 1985, c. C-34, s. 52;

             (v) By virtue of its false statements, the Defendant by Counterclaim
                  has depreciated the value of the goodwill attaching to Cohesity’s
                  Canadian    Trademark         Registration   No.    TMA 1,233,201   for
                  COHESITY contrary to section 22 of the Trademarks Act;

       (b) An Order:

             (i) directing    that      Canadian       Trademark       Registration   No.
                  TMA 1.260.843 be struck from the Register of Trademarks pursuant
                  to section 57 of the Trademarks Act;


       (c) interim, interlocutory and permanent relief in the form of an injunction
          prohibiting the Defendant by Counterclaim and its officers, directors,
          servants, agents, employees and any persons or entities under its control
          from:


             (i) objecting to Cohesity’s use of HELIOS. COHESITY HELIOS or
                  any other trademark that incorporates HELIOS in association with
                  the Cohesity Goods and Services;

             (ii) communicating to third parties the false allegation that Cohesity's
                  use of the Cohesity Marks violates any right, title or interest of the
                  Defendant by Counterclaim;

            (iii) objecting   to   or   opposing      Cohesity’s     Canadian   Trademark
                  Application No 2349560 for COHESITY HELIOS or Canadian
                  Trademark Registration No 2334939 for HELIOS or any other
                  trademark application of Cohesity that incorporate HELIOS;

            (iv) making any false or misleading statements tending to discredit
                  Cohesity's business, goods or services in violation of section 7(a)
                  of the Trademarks Act;


             (v) making representations to the public that are false and misleading


                                           10
Case 4:24-cv-09104-JST          Document 19-1          Filed 04/01/25        Page 30 of 94




                    in a material respect for the purpose of promoting the supply or use
                    of the Defendant by Counterclaim’s products and for the purpose
                    of promoting the Defendant by Counterclaim’s business interests
                    all contrary to Section 52 of the Competition Act;

              (vi) depreciating the value of the goodwill attaching to Cohesity's
                    Canadian    Trademark      Registration    No.   TMA 1,233,201       for
                    COHESITY contrary to section 22 of the Trademarks Act;

        (d) damages or an accounting of profits as Cohesity may elect as a result of the

            Defendant by Counterclaim’s conduct in violation of Cohesity’s rights
            under the Trademarks Act:


        (e) Damages as compensation for the loss and damage suffered by Cohesity as

            a result of the Defendant by Counterclaim’s conduct in violation of the
            Competition Act;

        (f) punitive and exemplary damages;

        (g) pre-judgment and post-judgment interest;

        (h) Cohesity’s costs of this action on a solicitor-client basis, plus all applicable
            taxes; and


        (i) such further and other relief as this Honourable Court may deem just.

 30.    Cohesity repeats and relies on the allegations in the Statement of Defence.

 Canadian Trademark Registration No. TMA1,260,843 is invalid


 The Application was ifled in Bad Faith

 31.    The Defendant by Counterclaim did not use and did not intend to use the
        trademark which is the subject of Canadian Trademark Registration No.
        TMA 1,260,843 in association with all of the listed goods and services. Rather,
        the Defendant by Counterclaim registered the trademark in a bad faith attempt
        to monopolize the use of HELIOS and to unfairly prevent other traders from
Case 4:24-cv-09104-JST         Document 19-1          Filed 04/01/25        Page 31 of 94




       legitimately using their own trademarks.

 32.   By its actions, the Defendant by Counterclaim is attempting to improperly
       present itself as holding a monopoly over HELIOS and as having a scope of
       protection broader than what it in fact enjoys. The Defendant by Counterclaim
       is using the threat of litigation to improperly bully those third-party traders into
       complying with its unreasonable demands.

 33.   Indeed, the Defendant by Counterclaim has contacted numerous third parties
       with the improper demand that they cease any use of HELIOS or otherwise
       pay for a license from the Defendant by Counterclaim and has commenced
       infringement proceedings against Cohesity and others in an attempt to secure
       an improper monopoly over use of HELIOS for any goods or services, or
       otherwise extort a payment.

 34.   The Defendant by Counterclaim is attempting to unreasonably monopolize
       HELIOS and HELIOS-formative marks beyond its own industry and its
       registration ought therefore to be expunged on the basis that it was filed in bad
       faith all contrary to section 18{ 1 )(e) of the Trademarks Act.

 35.   Cohesity is a person interested within the meaning of sections 2 and 57 of the
       Trademarks Act.



 The Defendant by Counterclaim’s False and Misleading Statements

 36.   The Defendant by Counterclaim is attempting to enforce an improper
       monopoly over the HELIOS trademark by engaging in a pattern of planned and
       deliberate vexatious and malicious conduct directed        at harming Cohesity’s
       business, goodwill and reputation.

 37.   As part of said conduct, the Defendant by Counterclaim has made numerous
       false and misleading statements tending to discredit the business, goods and
       services of Cohesity, including numerous complaints lodged with Apple, Inc.
       (“Apple”) and Amazon Web Services (“Amazon”). In particular, the


                                            12
Case 4:24-cv-09104-JST         Document 19-1           Filed 04/01/25     Page 32 of 94




       Defendant by Counterclaim lodged a complaint with Apple dated October 4,
       2024 in which the Defendant by Counterclaim sought the removal of
       Cohesity’s Cohesity Helios mobile software application from the Apple App
       Store. The Defendant by Counterclaim falsely advised Apple that the Cohesity
       Helios mobile application infringes the Defendant by Counterclaim’s
       intellectual property rights.

 38.   In addition, on October 7, 2024 the Defendant by Counterclaim contacted
       executives at Amazon and falsely stated that Cohesity’s use of HELIOS in
       connection with data management as a service infringes the Defendant by
       Counterclaim’s HELIOS trademark.


 39.   The Defendant by Counterclaim’s statements above are false and misleading,
       and the object and effect was to injure the reputation of Cohesity, discredit its
       business, goods and services, damage its relationships with Apple and
       Amazon, and cause it to suffer damages and monetary loss.

 40.   By virtue of the above statements, the Defendant by Counterclaim has made
       false and misleading statements tending to discredit Cohesity’s business, goods
       or services in violation of section 7(a) of the Trademarks Act.

 41.   In addition, by virtue of the above statements, the Defendant by Counterclaim
       has made representations to the public that are false and misleading in a
       material respect for the purpose of promoting the supply or use of the
       Defendant by Counterclaim’s products and for the purpose of promoting the
       Defendant by Counterclaim’s business interests contrary to Section 52 of the
       Competition Act. The statements made by the Defendant by Counterclaim were
       made knowing that they were false and misleading, or with reckless disregard
       as to whether they were false or misleading.

 42.   In addition, the Defendant by Counterclaim’s actions have depreciated the
       value of the goodwill           attaching   to Cohesity’s Canadian Trademark
       Registration No. TMA1,233,201 for COHESITY contrary to section 22 of the



                                             13
Case 4:24-cv-09104-JST        Document 19-1        Filed 04/01/25       Page 33 of 94




       Trademarks Act.


 43.   The Defendant by Counterclaim’s inflammatory allegations are baseless and
       serve only as an improper attempt to harm Cohesity’s reputation. Such baseless
       and inflammatory allegations are an additional basis upon which to award
       Cohesity solicitor-client costs against the Defendant by Counterclaim
       irrespective of the outcome of the Defendant by Counterclaim’s action and
       Cohesity’s counterclaim.

 44.   The Defendant by Counterclaim’s activities as pleaded above are high-handed,
       malicious, vindictive, and highly reprehensible and merit an award of punitive
       damages. The Defendant by Counterclaim knew, or ought to have known, that
       there was no violation of the Defendant by Counterclaim’s alleged rights in
       HELIOS by it but nevertheless proceeded to knowingly interfere with
       Cohesity’s legitimate and ongoing business activities in Canada causing
       damage to Cohesity’s business and the goodwill and reputation in Cohesity’s
       COHESITY. COHESITY HELIOS and HELIOS trademarks.


 45.   By reason of the aforesaid acts of the Defendant by Counterclaim, Cohesity
       has suffered and will continue to suffer damages, unless and until the
       Defendant by Counterclaim is restrained.

 46.   Cohesity is unaware of the full extent of the Defendant by Counterclaim’s false
       statements in violation of the Trademarks Act and the Competition Act. Full

       particulars are within the knowledge of the Defendant by Counterclaim and not
       within the knowledge of Cohesity. Cohesity claims in respect of all such
       activities of the Defendant by Counterclaim.

 47.   This counterclaim is not being proceeded with as a Simplified Action.




                                         14
Case 4:24-cv-09104-JST         Document 19-1         Filed 04/01/25        Page 34 of 94




 48.    Cohesity proposes that this action be tried in Ottawa, Ontario, Canada.

 Dated at Ottawa, Ontario, this 18th day of November, 2024.




                                               COWLING WLG (Canada) LLP
                                               Barristers and Solicitors
                                               Suite 2600-160 Elgin Street
                                               Ottawa, Ontario KIP 1C3

                                               Monique Couture
                                               MoniQue.Couturerr/'izowlimtwlg.com
                                               Tel: 613.786.0183


                                               Martha J. Savoy
                                               Martha.Savov@gowlinuwlu.com
                                               Tel. 613.786.0180


                                               Counsel for the Defendant/Plaintiff by
                                               Counterclaim Cohesity, Inc.




 TO:    WESTPOINTE LAW GROUP

        Barristers and Solicitors
        2200-1177 West Hastings Street
        Vancouver. BC, V6E 3T4

        Polina H. Furtula
        service@westpointelawgroup.com
        Tel: 604.718.6886


        Counsel for the Plaintiff / Defendant by Counterclaim
        Cartesian Theatre Corp.




                                          15
      Case 4:24-cv-09104-JST             Document 19-1           Filed 04/01/25         Page 35 of 94




                                                Schedule A


No.    Trademark           Owner                   Status           Application No. Claims
       HELIOS              Cohesity. Inc.          Formalized        2334939           Filed: 23-JAN-2024

                           300 Park Avenue         (Pending)
                            San Jose CA 95110

                            United States

Wares and Services

9 42

(1) Hyperconverged infrastructure (HCI) data management platform comprising downloadable software
for integrating computer servers, computer networks, and data storage into a single solution for purposes
of data management and managing information technology infrastructure and applications;
downloadable computer software, namely, a single data management computer software platform for
managing data distributed across multiple locations, data centers, public clouds, private clouds and
hybrid clouds; downloadable computer software analytics platform in the nature of downloadable cloud
computing software for analyzing, visualizing, and manipulating large quantities of unstructured,
structured, and semi-structured data distributed across multiple locations, data centers, public clouds,
private clouds and hybrid clouds; downloadable computer software that enables management of
distributed data sources in a single user interface: downloadable computer software for data
management; downloadable computer software for data storage, data backup, data protection, data
migration, data archival, data analytics, data searching, data indexing, data retrieval, data reporting, data
deduplication, data redundancy and data recovery and replication; downloadable database management
computer software for use in the field of enterprise data and information management; downloadable
computer software for data disaster recovery and replication; downloadable computer software
development tools; downloadable cloud-based software for data management; downloadable mobile
application for data management in the nature of data storage, data backup, data protection, data
migration, data archival, data analytics, data searching, data indexing, data retrieval, data notifications,
data monitoring, data reporting, data deduplication, data redundancy and data recovery and replication;
downloadable mobile application for data disaster recovery and replication; downloadable mobile
application for managing and operating software in the fields of data security, compliance assessment,
and cyber security.


(I) Software-as-a-service (saas) services featuring software for use in data management, data storage,
data backup, data protection, data migration, data archival, data analytics, data searching, data indexing,
data retrieval, data reporting, data deduplication, data redundancy and data recovery and replication;
software-as-a-service (saas) services featuring software for use in data protection analysis for
cybersecurity and computer security purposes; platform-as-a-serv ice (paas) featuring a single computer
software platfonn for managing data distributed across multiple locations, data centers, public clouds,
private clouds and hybrid clouds; platform-as-a-service (paas) featuring computer software analytics
platforms for analyzing, visualizing, and manipulating large quantities of data in a single user interface;
providing temporary use of on-line non-downloadable software for use in data management, data



                                                      16
    Case 4:24-cv-09104-JST               Document 19-1           Filed 04/01/25         Page 36 of 94




No. Trademark              Owner                   Status           Application No. Claims
storage, data backup, data protection, data migration, data archival, data analytics, data searching, data
indexing, data retrieval, data reporting, data deduplication, data redundancy and data recovery and
replication; electronic data storage for archiving electronic data; computer services, namely, computer
security threat evaluation and analysis for protecting data to assure compliance with industry standards;
platform-as-a-service (paas) featuring computer software platforms for use in data management and data
protection; platform-as-a-service (paas) featuring computer software platforms for enabling data
processing and data management; providing virtual computer systems and virtual computer
environments through cloud computing on a subscription or pay-per-use basis; computer disaster
recovery planning; cloud computing featuring software for electronic data back-up, disaster data
recovery, electronic storage for archiving electronic data, and computer security threat analysis for
protecting data; cloud computing featuring software for use in computer software development.
2      COHESITY            Cohesity. Inc.          Formalized       2349560            Filed: 12-SEP-2024
       HELIOS              300 Park Avenue         (Pending)
                           San Jose. CA95I10
                            United States

Wares and Services

9 42

(1) Hyperconverged infrastructure (HCI) data management platform comprising downloadable software
for integrating computer servers, computer networks, and data storage into a single solution for purposes
of data management and managing information technology infrastructure and applications;
downloadable computer software, namely, a single data management computer software platform for
managing data distributed across multiple locations, data centers, public clouds, private clouds and
hybrid clouds; downloadable computer software analytics platform in the nature of downloadable cloud
computing software for analyzing, visualizing, and manipulating large quantities of unstructured,
structured, and semi-structured data distributed across multiple locations, data centers, public clouds,

private clouds and hybrid clouds; downloadable computer software that enables management of
distributed data sources in a single user interface; downloadable computer software for data
management; downloadable computer software for data storage, data backup, data protection, data
migration, data archival, data analytics, data searching, data indexing, data retrieval, data reporting, data
deduplication, data redundancy and data recovery and replication; downloadable database management
computer software for use in the field of enterprise data and information management; downloadable
computer software for data disaster recovery and replication; downloadable computer software
development tools; downloadable cloud-based software for data management; downloadable mobile
application for data management in the nature of data storage, data backup, data protection, data
migration, data archival, data analytics, data searching, data indexing, data retrieval, data notifications,
data monitoring, data reporting, data deduplication, data redundancy and data recovery and replication;
downloadable mobile application for data disaster recovery and replication; downloadable mobile
application for managing and operating software in the fields of data security, compliance assessment,
and cyber security.




                                                      17
      Case 4:24-cv-09104-JST            Document 19-1           Filed 04/01/25         Page 37 of 94




No.   Trademark            Owner                  Status           Application No. Claims
(I) Computer disaster recovery planning


(2) Software-as-a-service (SaaS) services featuring software for use in data management, data storage,
data backup, data protection, data migration, data archival, data analytics, data searching, data indexing,
data retrieval, data reporting, data deduplication, data redundancy and data recovery and replication;
software-as-a-service (SaaS) services featuring software for use in data protection analysis for
cybersecurity and computer security purposes; platform-as-a-service (PaaS) featuring a single computer
software platform for managing data distributed across multiple locations, data centers, public clouds,
private clouds and hybrid clouds; platform-as-a-service (PaaS) featuring computer software analytics
platforms for analyzing, visualizing, and manipulating large quantities of data in a single user interface;
providing temporary use of on-line non-downloadable software for use in data management, data
storage, data backup, data protection, data migration, data archival, data analytics, data searching, data
indexing, data retrieval, data reporting, data deduplication, data redundancy and data recovery and
replication; electronic data storage for archiving electronic data; computer services, namely, computer
security threat evaluation and analysis for protecting data to assure compliance with industry standards;
platform-as-a-service (PaaS) featuring computer software platforms for use in data management and
data protection; platform-as-a-service (PaaS) featuring computer software platforms for enabling data
processing and data management; providing virtual computer systems and virtual computer
environments through cloud computing on a subscription or pay-per-use basis; cloud computing
featuring software for electronic data back-up, disaster data recovery, electronic storage for archiving
electronic data, and computer security threat analysis for protecting data; cloud computing featuring
software for use in computer software development.
                         Case 4:24-cv-09104-JST           Document 19-1                  Filed 04/01/25   Page 38 of 94



                                                                 Schedule B


       Mark                    Owner
HELIOS                 Helios. LLC
Reg. No.               Indianapolis, Indiana         CMed Irtm                                                           Kceve   >^11   f     b     kB

TMA736470              United States                                                                                                        links



Reg. Date: 2009-03-
18



                                                                                                             EMVChip
                                                                                                             Readers Now
                                                                                                             Available
                                                                                                             IMrfCHotteaMfi

                                                                                                             Sm>How »




                                                                      k MV Lhip Rfiatfers Now AvM aox!


                                                 hltps://www.gohclios.com/indcx.php
Goods & Services
9(1) Computer software namely a management business software application for hair care salons, tanning salons, beauty salons and spas,
featuring, appointment scheduling, database management and security, spreadsheets, creating and sending invoices, processing sales and
electronic payment authorizations, inventory tracking, equipment usage tracking, accounting, employee payroll software, employee training,
generating marketing reports and generating directed mailing.
                           Case 4:24-cv-09104-JST             Document 19-1                     Filed 04/01/25                  Page 39 of 94



HELIOS                  Socicte GRICS
Reg. No.
TMA816267
                         Montreal, Quebec
                        Canada                        Q gncs ,              ●OOIK       umci<   uovi k*   C«Mit   comMTM   II     g]   OntOMIIMA



Reg. Date: 2012-01-                                           CMlHW


26
                                                         Helios
                                                         Hitoihkuwf                                       vivr

                                                         mnruy by impto«ig the      mmagHncm o> y




                                                             TO EASILY ACHIEVE YOUR ENERGY EXPENSE
                                                                        REDUCTION TARGET



                                                                   IMII6T MkHAftiMIMT




                                                    https://m'ics.ca/cn/prodiict/hclio.s/#first-section
Goods & Services
9(1) Logicicl dc gestion de I'encrgie et d'analyse de la facturation cnergetique.
HELIOS                   Tecoustics Limited
Reg. No.                 Burlington, Ontario
TMA1202120               Canada
Reg. Date: 2023-10-
04
Goods & Services
[...]
42( 1) [...] Installation, maintenance and repair of computer software for vibrational, seismic, solar energy, waste water, and thennal activity
management and monitoring; Installation, maintenance and repair of computer software for industrial and commercial building automation;
LA
                          Case 4:24-cv-09104-JST           Document 19-1        Filed 04/01/25        Page 40 of 94



                        Tecoustics Limited

^^ihelios               Burlington, Ontario
                        Canada
Reg. No.
TMAl 173057
Reg. Date: 2023-03-
27
Goods & Services
[...]
42(1) [...]; installation, maintenance and repair of computer software for vibrational, seismic, solar energy, waste water, and thermal
activity management and monitoring; installation, maintenance and repair of computer software for industrial and commercial building
automation; [...1
HELIOS                  Gigataur Corporation
PLATFORM                Ottawa, Ontario
Reg. No.                Canada
TMA905073
Reg. Date: 2015-06-
02
Goods & Services
(1) Software development tool for the creation of mobile & touch games; mobile and touch software, namely, game engine software for
video game development and operation
(1) [■ ■ .1; software devc opment in the field of mobile & touch games, deployment and distribution
HELIOS                  Eqonex Limited 140
App. No. 2134340        Singapore
App. Date: 2021-09-
17
Goods & Services
9(1) [...]; downloadable computer software for electronic data storage, namely, electronic storage for others of cryptocurrency coins on
offline devices;
[...]
42(3) Providing temporary use of on-line non-downloadable software for electronic storage for others of cryptocurrency coins on offline
devices.
                           Case 4:24-cv-09104-JST               Document 19-1            Filed 04/01/25   Page 41 of 94



                                                        C   A
HELIOS                   Hclios Communication-
                                                                                  HELI   S
App. No. 2349757         Marketing inc.
App. Date: 2024-09-      Montreal Quebec                             \              r
13                       Canada

                                                                              1


                                                        L’ETINCELLlfe QjifiL FAUT A VOS
                                                        PR03ETS




                                                        Notre mission : rendre vos projets
                                                        eclatants!




                                                    littps://hclios.auencv/
Goods & Services


42(3) Conception et developpcmcnt de sites web pour des tiers; conception graphique; services de conseils tcchnologiques en
transformation numcrique; conseils en intelligence artificielle; conseils techniques dans Ic domaine de I'intelligence artificiclle.
Unofficial Translation
[●●●]
42(3) Design and development of websites for third parties; graphic design; technological consulting services in digital transformation;
artificial intelligence consulting; technical consulting in the field of artificial intelligence.
HELIOS
COMMODITIES              Helios Commodities
INC.                     Inc.
                         Toronto, Ontario
Corp. Reg. No.           Canada
1447069-9

Reg. Date: 2022-10-
21

Jurisdiction: Federal
                          Case 4:24-cv-09104-JST            Document 19-1                                         Filed 04/01/25                      Page 42 of 94



HELIOS WEB
SOFTWARE INC.           Hclios Web Software
                        Inc.
Coip. Reg. No.
956664-3
                        Ottawa, Ontario
                        Canada
Reg. Date: 2024-01-
01

Jurisdiction: Federal

HELIOS                                                C    ff)   -●                                c'cato't ● ●




CREATORS INC.           Helios Creators Inc.
                        Toronto, Ontario
                                               fG>|gle .                'hei*os creaiofs me"                                       X   I   (●:   O.

Corp. Reg. No.
                        Canada                  Ar
1369448-8

Reg. Date: 2022-01-                             Q richo% partv
                                                          '●                i


                                                HELIOS: A social music experience
                                                     SiQnup           3^1       10$ KO   0«l   Arvjtoj acp         C r«9tors Inc   *
                                                          wfly I 7      289 19$3 tens c' seivice t c^vecv W< v
Jurisdiction: Federal

                                               Software platfonu for music streaming, facilitating music artist-fan interactions, creating
                                               NFTs, and selling band merchandise and music concert tickets
                       Case 4:24-cv-09104-JST           Document 19-1                                    Filed 04/01/25                   Page 43 of 94



HELIOS WIRE
                                                                                                                                     *        ^      ^                t
                                            GBI
                                                                                                                                ●a                                                                         k.
                                                  Q.     . ,
                      Helios Wire
                                                                                                                                                                                                                 ‘




Corp. Reg. No.
GM0791241
                      Vancouver, British                                                                                                             HKU Business School

                      Columbia                                                                                                                       Harrison, grow your txjsrness with news
                                                                                                                                                     and insights from HKU Business School
Reg. Date: 2019-10-   Canada
                                                                                                                                                     SUy                  xtduilry newt «nd Uentfi
31
                                                                                                                                                                             Follow
                                                       Helios Wire loT
Jurisdiction: BC                                            --'■Services                    I.     '    .sots    tOerr-iM,-”.

                                                               + Follow                  Message         f   0                                       Funding via Crunchbase
                                                                                                                                                     Mel    -s Wire


                                                   Home            About         Posts           Jobs        People
                                                                                                                                                     Last Round
                                                                                                                                                     Seed    ● Nm

                                                       Overview                                                                                      USS 2N
                                                                                                                                                                                           eruftchboM
                                                       We're ooerung up loT and blockcham connectivity to the entire plariet             no matter
                                                       the location        with our space-based infrastructure
                                                                                                                                                                      Show more (£

                                                       Helios Wire is buifdirsg a disruptive, global, and vertically integrated monitonrsg
                                                       and messaging service to track and provde communication for up to 5 billion
                                                       transmitters The Helios system will be both space and terrestrial based allosving
                                                       loT and M2M service (or ultra-high-volume market applications requiring low
                                                                                                                                                     Pages people also viewed
                                                       banciwidth and low service costs -- everything from snsart (arming to global                              Momentus
                                                       logistics                                                                                                 Avkflon and Aeroi|>*<« Co^npoo^nt

                                                                                                                                                                 ManufftCtU'ioq
                                                       Helios IS based in Vancouver 0C with technical offices in San TranciscQ and
                                                       Australia

                                                       Website                                                                                                    Q         Messaging      i         ...    B   -n




                                           (https://www.linkcdin.com/company/helios-wirc-iot/)
                                           monitoring and messcaging service to track and provide communication for transmitters
           Case 4:24-cv-09104-JST            Document 19-1                           Filed 04/01/25                Page 44 of 94



HELIOS   Helios Artificial,
         Me Lean, VA                        CH»dt»nn

         United Slates                I,
                                     v‘“
                                      *1 Helios              Products Who il's For Company Pricing                         Contact   Login   Free Trial




                                                          Unrivaled price &, supply forecasting
                                                              for agricultural connmodities
                                                          Helios’ Al platform aggregates billions of data points to provide you with a
                                                              global, real time view of the climate and economic risks affecting the

                                 I                                                commodities and regions you care about.


                                 hups://www.hclios.se/
                                 Predictive artificial intelligence-based software for predicting price and supply
                                 availability of agricultural commodities by geographic region
HELIOS   Helios Software Inc.
         Boston. Massachusetts
         United States
                                           ) HELIOS
                                      Fueling healthcare transformation.
                                     Wn ernatn nofnft.iro Koliitioni; inr hoalrricarn's moM challAnQing pmrilem^



                                           OurlMRi
                                                     jA




                                 https://hcIiossoftwarc.com/
                                 Database software for healthcare and clinical data and information, and software and
                                 technology consultancy services in the fields of healthcare
                Case 4:24-cv-09104-JST             Document 19-1                     Filed 04/01/25                Page 45 of 94



HELIOS BY     Helios Ed
                                        ^ Google Ploy         c*'t       V   Udv * .4TV      ^   1-


HELIOS ED     San Malco, California
              United States
                                         Helios by Helios Ed
                                              fti



                                           MO>




                                                 irniti         <    a




                                           ll.li    -                                                           App support     ^




                                      litlps:^/play.googlc.eom/storc/apps/dctails?id=com.hcliosed.I IcliosMobile&gl=ea
                                      Mobile phone software for facilitating the onboarding process of personal information of
                                      newly hired employees
HELIOS DATA   Helios Data Inc.
                                                          7
              Palo Alto, California                 HELIOS DATA
              United States


                                                                                                                Control Tour 0«O. AI tb* Tnnt
                                                                                                                                          .vs .    Ci   ..




                                                                                                      ClcminmcDota Soaring Risk To                Value
                                                                                                      Helios Dota's Secure Data

                                                                                                      Collaboration Platform is the "Smart
                                                                         ■   4   ^



                                      hups://www.hcliosdala.com/
                                      Software which provides secure utilization and analysis of datasets composed of
                                      sensitive or confidential infomiation
                  Case 4:24-cv-09104-JST          Document 19-1                     Filed 04/01/25      Page 46 of 94



HELIOS          Acer Inc.
                New Taipei City 221
                Taiwan




                                                   cited t»mi


                                              HELIOS
                                                                                            .0

                                                                               tl




                                      https;//www.accr.coni/iis-en/predator/laptops/hclios
                                      Computers
HELIOS MOBILE   Aldors.r.o
                                        ^ Google Play               *r>ps   Ukw, »>fcTV                             Q.    ®
                Prague 4
                Czechia                     CiMtcnn


                                         HELIOS Mobile
                                         AtDO#



                                           to«>



                                                                                                                         luetHl'



                                                                <   Q




                                                                                                     App ii4>port




                                      hltps://play.googlc.com/storc/apps/dctails?id=cz.aldor.hcliosmob ilc«&gl=ca
                                      Workflow management software for the installation, maintenance and monitoring of
                                      information technology systems
                 Case 4:24-cv-09104-JST        Document 19-1                       Filed 04/01/25                    Page 47 of 94



HELIOS BY      Utility, Inc.
UTILITY        Decatur, Georgia
                                       ® UTILITY
                                                                                       HOM             SOLUTIONS            COMPANY

                                                                                       Ksoutas
               United States




                                                                                                                                  ,   QMtecm



                                                                                                                       HELIOS
                                                                                                                       by uHlity-
                                                                                              DIGITAL EVIDENCE

                                      https://www.utility.com/hclios-solution/
                                      Digital evidence management system
HELIOS         Helios Technologies,                          Atxxjl   Mjtlu-ls   OocfaliogCornpArar^    LSC   Newt   invrtlo'i   Careot   ConlacI   Sitcfnap        SmtcTi
TECHNOLOGIES   Inc.
               Sarasota, Florida
               United States


                                       A Leader in Global                                                                                           7.^
                                                                                                                                                               -i




                                        Industrial
                                       Technology
                                       Developing beel*in-clets Hydreulic end Electronic Solutions

                                       Helios Technologies is a global leader in highly englrteered motion control



                                      hllps://www.hcliostcchnologies.com
                                      Motion control and electronic control hardware and software
              Case 4:24-cv-09104-JST               Document 19-1              Filed 04/01/25                           Page 48 of 94



HELIOS      Helios Solutions
                                              #   HEUOS                                                                          CCTSTAHTtO   4
SOLUTIONS   Gujarat, India
                                                                                                          COVIU-19
                                                  SOI lT     ONS   I

                                                   CiMtefm




                                         (5)

                                                                       HINK                                                   HRIVE




                                        https://www.hdiossolutions.co
                                        Computer software and application development
HELIOS      Svetlana   Polishchuk   /     4                Mac                 ^   ti9r                   11                                      Cl   n

            Nova Moscow
                                          App Store Preview
            Russia
                                                                                          ACO   *.C t.*        C^A'ViC *0Ci

                                                                               CIM tonn

                                                                                   Helios
                                                                                   svr^i ANAPOl I'ili.'-          I




                                        https://apps.applc.com/ca/app/hclios/id789749891
                                        Mobile time tracking software application
           Case 4:24-cv-09104-JST               Document 19-1                           Filed 04/01/25                        Page 49 of 94



HELIOS   Corrugated Solutions
         Lake Forest, Illinois
         United States



                                                                                                       HELIOS
                                     LLJ'
                                                                                                       AI/MACHINE
                                                                                                       LEARNING
                                                                                                       PLATFORM
                                          It                                                                  .mwSjV'


                                                                                                       PLATFORM
                                                                                                       ( .1             5

                                                                                                       Corfenf^ S«.rrf




                                   https://comigaledsolutions.convprodueis/corrugaied-machine-iearn ing-iiot
                                   Artifieial intelligence-based software for analyzing datasets, optimizing maintenance and
                                   reducing downtime of machine equipment in the corrugated converting industry
HELIOS   Helios Quantitative                    . Ij   \

         Research LLC
         Granite Bay, California                                       vnAMHOTi     TMiwcraHMiaw&mAiuruiTMnooNMTMcarn


         United States




                                                           CriMltHTn
                                                                                                                            Subsenb* to Our Newileliei



                                     ^ hellos                                                            10 Q                                        Submit




                                     e ?074    PiKacfRiInT             crfS»»*«er            Sovient   OrmQ             OH     Bnou'CMCwlfr    TMm       Co^acr Ui




                                   hllps://hcliosdri veil.com/
                                   Asset management software
               Case 4:24-cv-09104-JST          Document 19-1                                    Filed 04/01/25                Page 50 of 94



HELIOS        Helios Group          Helios           CIMtMm                                                                                                                .)

              Chicago, Illinois
              United Slates             HIBE    ONtlOARD.        MANAGE             PAY


                                        Compliant
                                        HR Tools
                                        For Global Teams
                                                    your b»r.'     ●'               ai:-n-or^« ^icbA;
                                        c»yfOii -’"I' 'K 'i»»rv*y<i't'*tr '■' utio'' ot
                                        g’O^nth, i?tMrr»rii>                      aryj vmp fy
                                        TtfMtogwT^n; Iiot                            ofttoa'ilrtg n l?i-
                                        CounTiiMi




                                           Oct star Ini lodayl


                                        rrr

                                  hUps://www.helios.io/
                                  Workforce management software for payroll and Human Resource management, and for
                                  employee on-boarding and off-boarding
SINGLESTORE   SingleStore, Inc.
HELIOS        San Francisco,                                   f'J Docs
              California
                                                                              At«ut Ungititor* IMIi                                                                                 E)
              United States                                                                             Cited tenn                     enrt lb» r. ,v Mjy Ui   ● i'- ● v.ilh SOfI

                                                            About SingleStore Helios                                          BS*

                                                                                                                                MidIm

                                                           OH 'xiS MOI




                                                                M -●    ● >i jr    t, t ‘.VI    ●   I




                                                                 ►AO-

                                                                 Arl-        TV




                                                            Sifuji^StoiT              I* i ilAiar.AAA plarform ou'ii to   ●         to build and csw»r




                                  https://docs.singlcstorc.com/
                                  Database software
             Case 4:24-cv-09104-JST         Document 19-1                     Filed 04/01/25                Page 51 of 94



HELIOS     NV5 Geospatial          VIM i«e cootOM to imrtmtdoa     you in#     lort to >mpfmr« yoiif   w Hy coot nurg to iwe Oix wo
                                   youafcootouf iiwofeooWtM Vto» tho Poyocy ^ cy 00*0
           Solutions, Inc.
           Hollywood, Florida                                    PLEAHNOTI.


           United States
                                    Keaprnneijrai

                                    Intelligence

                                         CltKlttfTn


                                    HELIOS® Ground Weather                                                             RELATED TOPICS


                                    Analytics                                                                           ●«*w;«TP<0 «».-TWC V.WT>«*
                                                                                                                                ISKXyMMKM




                                    Do you nood to know tho tituation on th« gtound. in a apocific location
                                    right rtow? Use Hetio* Weather Intelligence Software.                                     6U>Q ARTICLE




                                  htlpsi/Avww.nv5gcospalialsortwarc.com/Products/Hclios
                                  Software providing real-time hyperlocal ground weather analytics
HELIOS3D   STOHR+SAUER CAD
                                       HEuasao
           - und Computersystem            OMIenn

           GmbH                                            HOME «

           Germany




                                       Welcome to Helios 3D
                                                                                           Downloads
                                       Since 2010, HELIOS 3D has beert at the
                                                                                             Downloads Support


                                  htlps://www.hclios3d.com'
                                  Software for photovoltaic plant design and management
              Case 4:24-cv-09104-JST       Document 19-1            Filed 04/01/25                Page 52 of 94



QUANTINUUM   Quantinuum, Ltd.                                                                                         r
                                           QUANTINUUM      Pryj.x-ts & Saiut'O'^     P«''parr'i   Cc-npjry   Ni-w'.       LIT-»   TALK
HELIOS       Broomfield, Colorado                                                                                     L
             United States



                                     ●   HELIOS
                                           Cn*d t*rm




                                         Pioneering the
                                         next era of computing
                                         through
                                    hllps://www.quantinuum.com/products-solutions/quantinuum-systcms /hclios
                                    Quantum computing hardware as a service
HELIOS       Helios Sports, Inc.
             Portsmouth, New
             Hampshire United
             Stales


                                                                                   HELIOS'




                                    https://app.hclioshockcy.com/
                                    Athlete performance tracking and development software
                   Case 4:24-cv-09104-JST     Document 19-1                          Filed 04/01/25         Page 53 of 94



HELIOS           Virtualhealth
VIRTUALHEALT     New York, New York                                           Who Wc Serve   Solutions   Our Approach         r
H                United States                                                                                                    GET A DEMO
                                                                              Resources




                                                                                      CARE MANAGEMENT SOLUTION

                                              Cited term
                                                                                      The first platform purpose built for value-based
                                            lELIOS                                    care. HELIOS- is an integrated care management,
                                                                                      disease management and utilization management
                                                                                      ecosystem of care.




                                      hUps;//www.virlLialhcalth.com/prodiicts/carc-managcmcnt-solulion -hclios/
                                      Case management software for use in the field of healthcare
HELIOS DEFENSE   Helios Defense
                                                                    OMImtii
SOLUTIONS        Solutions LLC
                 Maryland                     nn HELIOS    DEFENSE SOLUTIONS
                 United States




                                        Welcome (o

                                            ..f.r
                                                     i.v   Iv'd t



                                      https://www.heliosdsllc.com
                                      Hardware and software development and consultation in the field of national defense
          Case 4:24-cv-09104-JST         Document 19-1                                    Filed 04/01/25                              Page 54 of 94



HELIOS   Softcam SpA
         Lecco, Italy



                                         CltMltam



                                   Helios - ERP & MES
                                   integrated and efficient management
                                   with one software. For SMEs and
                                   beyond

                                   hcly>fyyiv»jr«-        >ur KiiKlian fiM ih< ●gti* m*n*gvm«nt
                                   o< the production cycle and all btnineas proc«*t«a
                                   Myoogh <i modular aolut Ion <●.■'.>^1 miogi.itiKl w<lh



                            https://wwvv.soflcam.il/cn/products/hclios/
                            Business management software
HELIOS   ARC l lealthcare                                                                                  (air*    ran <n aa('i

                                                                                                                                                                             ♦
         Technologies               ●I         HdlOl'                             -rmvi             Ogr                                         ARC Healthcare Technologies
         Orion Michigan
         United States


                                                                                                                    Cited tenn




                                                                                                          Hellos
                                          INVENTORY MANAGEMENT SYSTEM
                                                      ●       fnod .inrt rtr*-.           ert ry >AC                                 Of.   ● ! .i       I' .I'l I-'               n'.rnt.'-T

                                                                         r-'di-irt ng '●f .il titi.'' rtf r rnt .tm .v.itorr.itrd dw ' o~ '                                   hr>.iTr,Tr
                                          \,i|ip V f’■■Hr ' 'll -,'. 111** :<tl«»S' iM'.            H'               '' Vd :*>t ●'                  (j - ‘            '   ii[;’ (if's ul

                                          'plT'rti; ( all ''rls < livi k               Mosliv. iMMlf'’!* (I >( ati’iwr, fr' () rx\ :tt*. iti** -if i'!-. : U:'o^rii j..              *● <:■'

                                                           .. . ir-jiij;? rtj{ .’in;          t-,           lo' i     .end .n ’.udj',’:. Ijrjjci; ■ ●         J'L. ....nx;.




                            https;//archll.com/hclios-platronn-ovci'vicw/
                            Inventory management software for use in the field of healthcare
          Case 4:24-cv-09104-JST            Document 19-1                                    Filed 04/01/25                                Page 55 of 94



                                                                                                                                            t>   o
         Paisso Technology
                                   o   a
HELIOS
                                             S   M




         Private Limited       V'Helios                                       SCKV>CES   .                               juoi/rufi   rrwTArros




         New York, New York
         United State
                                       Innovate the next
                                       generation of
                                       technology vt/ith us.
                                       MOBILE APP
                                       DEVELOPME

                                       Our process that reltes    methods and

                                       ttchnfaues to taking      doto - mining for
                                       insighu ond yeors of experience will help
                                       you Ptcome the industry leader.




                                                           o
                                           Trusted ^ tOO« Worldwide Customers*




                              htlps://hcliostcchlabs.eom/
                               opwork            ● I -                                                 rr««tr* *.v                                   Q            a.




                               Dd«efoonert tiT                   Dot in ft Creef've      Se^       ft Vi^eet ni|     Adftf 4Cu\UT#r SuppOfT      Mere V


                                                                                             4 ●
                                                                                             I
                                                                    I
                                                                         t       I                    I                                                   HELIOS
                                                              ● .    ●   4 *                                                                              TECH LABS
                                                 Vf MclitTs oisAnsFORcriotxcxeooKs i business automation


                                                 msfsm
                                                 Helios Tech Labs
                                                 Zoho. Salesforce OuickBooks ond Business Automation




                                                     (           ,1'-'




                              https://www.Lipwork.coin/agcncics/hcliostcchlabs/
                              Software and computer application consulting and development services
                 Case 4:24-cv-09104-JST        Document 19-1                 Filed 04/01/25                 Page 56 of 94



HELIOS DESIGN   HashiCorp, Inc.
SYSTEM          San Francisco,
                                      ff                   System    Abcjt   rogrtdatim     Componenb       Patterns                     Q. Search   Scspprt O

                California
                United States

                                              ; OM etrm


                                           Helios                                                                                                     ■



                                           Design System
                                           The Helios Design System from HashiCorp provides the open
                                           source building blocks to design and implement consistent
                                           accessible, and delightful product experiences.




                                    https://hclios.hashicoip.design/
                                    Software for developing software User Interfaces
HELIOS          HELIOS Software        A                motnlm   SoMKm          Nmr>      Convony   tS| tngitsn
                GmbH
                                           CMEtftefTn
                Garbsen
                                       HELIOS Software GmbH
                Gcnnany
                                                                                AMUIHO.IOS     riWMitS   Pikes    OWCaao>«   Lt9«nalKe       CTC




                                   htlps;//www.hclios.de/wcb/EN/company.html
                                   Software development services
           Case 4:24-cv-09104-JST                Document 19-1              Filed 04/01/25                      Page 57 of 94



HELIOS   Helios Automazioni srl        (t                                     COMPWY   UACHlfMS   SOTTWAM       CAUrRir   C OKIACTS   ● ●
         San Salvo
                                     HMUOS
         Italy                        CMImn




                                                                         Innovative
                                                                     Tech Solutions


                                  https://www.hcliosautomazioni.com/cn/honic-cn.html
                                  Software for use in the stone processing industry
                                  helins
HELIOS   Righthub Limited                      . V
                                                 N.   ●
         London, United
         Kingdom

                                  Empower
                                  Your IP
                                                                                                  Httf
                                                                                                         ●1/k
                                  HRioscompwe" moves it cosy to
                                  onooo'd monilo'. ciecuto, oid
                                  lepoif on oil ospecTs o< yout IP
                                  Dpcfotiont



                                                          R<x)uctlOomo




                                  https://hcliosip.com
                                  Software for Intellectual property onboarding, monitoring and reporting
               Case 4:24-cv-09104-JST             Document 19-1                  Filed 04/01/25                    Page 58 of 94



HELIOS SHED   Helios Technology
LIGHT         Solutions Inc.
              Oakville, Ontario
                                                          Cited etrm



              Canada




                                   https://w\vw.hcliotccli.ca/about-Lis
                                   Website design and development, mobile app development, research, and services in
                                   digital marketing.
HELIOS        Forterro Sweden AB        C    ft       U                                                                 Cr    D   ●   :


              London, United          ●> FORTERRO           HOWWCHSlfv   WHOWCAftC .   tlOCStAimaCS   NrwS4MCtHA             tM



              Kingdom




                                            Helios
                                            ERP software designed
                                            for the aerospace
                                            sector.
                                        VISIT THE HELIOS WEBSITE




                                        Home      >                                                                 /




                                      Ahniit thp <;nftvAf;^rp

                                   https://ww\v. forterro.com/cn/product/hclios
          Case 4:24-cv-09104-JST                Document 19-1                     Filed 04/01/25           Page 59 of 94




                                4^ GetApp

                                Heli'os ERP



                                   >HtllOS                                                            PAHAINll




                                                                                  t




                                 m




                                            Mlir*

                                                           9T*f

                                                                                                     - \         J



                                                    r ,»          ¥*i «M »-t-P             :   Vf;




                                   49 lrr*9*1




                               https://\vww.gctapp.ca/softvvarc/2070516/hclios--erp
                               Enterprise resource planning software for use in the aerospace industry
HELIOS   Helios Ventilatorcn                                                     — *   ^


         Villingcn-
         Schwenningen,
         Germany




                               O


                               http://hclios.bi7
                               Ventilation system operation mobile application and Building Informaiton Model Data
             Case 4:24-cv-09104-JST        Document 19-1                         Filed 04/01/25                    Page 60 of 94



                               for ventilation sysems for use in CAD software
HELIOS      Helios Software
            Development Ltd.
            Vietoria, Malta                                                O
                                  HELIOS SOFTWARE DEVELOPMENT
                                                                          LTD.




                               hllps://helios-soflware.com'
                               Software development services
HELIOS      Helios Software
SOFTWARE    Developer
DEVELOPER   TaguigCity 1634
            Philippines

                                                THINK. DESIGN. DEVELOP.
                                       'The ruture belongs to the competent Get good, get better, be the best!'




                                                                  What We Do




                                                                                                      □

                                      UserExoerience                Feedback &               Useful Ai>Dlication



                               http;//hc!iossortwarcdcvcloper.com^
                               Mobile and web application software development services
Case 4:24-cv-09104-JST   Document 19-1   Filed 04/01/25   Page 61 of 94




                EXHIBIT D
     Case 4:24-cv-09104-JST     Document 19-1      Filed 04/01/25      Page 62 of 94




                                                                Court File No. T-2636-24




                                 FEDERAL COURT

BETWEEN:

                           CARTESIAN THEATRE CORP.

                                                                               PLAINTIFF


AND


                                  COHESITY, INC.

                                                                             DEFENDANT




AND BETWEEN:


                                  COHESITY, INC.

                                                        PLAINTIFFBY COUNTERCLAIM

AND

                           CARTESIAN THEATRE CORP.

                                                   DEFENDANT BY COUNTERCLAIM




                          DEFENCE TO COUNTERCLAIM


      The defendant to the counterclaim        admits    the   allegations   contained   in
paragraphs NONE of the counterclaim.

      The defendant to the counterclaim        denies    the   allegations   contained   in
paragraphs 30 to 48 of the counterclaim.

       The defendant to the counterclaim has no knowledge of the allegations contained
in paragraphs NONE of the counterclaim.


1.    Except where expressly admitted herein, the Defendant by Counterclaim
      Case 4:24-cv-09104-JST        Document 19-1       Filed 04/01/25     Page 63 of 94




       Cartesian Theatre Corp. ("CT”), denies each and every allegation in the
       Counterclaim and puts the Plaintiff by Counterclaim, Cohesity, Inc.
       ("Cohesity”) to the strict proof thereof.

2.     CT specifically denies that Cohesity is entitled to any of the relief claimed
       in paragraph 29 of the Counterclaim.

3.     In further response to paragraph 29(b), Cohesity has no grounds to seek
       to invalidate the Helios Trademark (as defined in the Statement of Claim).
       Cohesity had an opportunity to oppose its registration during the
       advertising period but failed to do so.

4.     In response to paragraphs 31 to 44, CT denies it has commenced this
       action or registered the Helios Trademark in bad faith, or acted with
       dishonesty, or with malice and further says that Cohesity has no evidence
       on which to make such unmeritorious accusations and seeks an award of
       enhanced costs, on a solicitor-client         basis or alternatively   on   a

       substantial indemnity basis.

5.     In further response to paragraph 31, CT did use and did intend to use the
       Helios Trademark in association with all of the listed goods and services.

6.     In further response to paragraph 31, Cohesity does not own any
       trademark for “Helios”, “Cohesity Helios” or any other HELIOS-formative
       marks in Canada.

7.     In response to paragraph 32, CT is not bullying Cohesity or third party
       traders, but is simply seeking to protect its Helios Trademark as alleged
       in the Statement of Claim.

8.     CT specifically denies the allegations in paragraph 33.

9.     In response to paragraph 34, CT is seeking to protect its trademark within
       its own industry.

10.    In response to paragraph 35, Cohesity is not a person interested as
       defined in section 2 of the Trademarks Act.


11.    In response to paragraph 36, CT is only seeking to enforce the Helios
       Trademark, which it owns.

12.    In response to paragraphs 37, 38, 39, and 40, CT has taken the step to
       notify third-parties that there may be a risk of confusion with Cohesity’s
       impugned Services and Infringing Names but denies making any false
       and misleading statements, nor statements that discredit the business,
       goods and services of Cohesity.

13.    In response to paragraphs 41 and 46, CT denies making statements as
      Case 4:24-cv-09104-JST       Document 19-1       Filed 04/01/25         Page 64 of 94




       alleged or any that are contrary to s.52 of the Competition Act.

14.    In response to paragraphs 42 and 45, CT denies that Cohesity has
       suffered any loss or damage as alleged and is not entitled to any of the
       relief claimed in paragraph 29 of the Counterclaim.

15.    In response to paragraphs 43 and 44, Cohesity’s unmeritorious
       accusations of dishonesty, malice and bad faith that are pleaded an
       award of enhanced costs, on solicitor-client basis or alternatively on a
       substantial indemnity basis.

16.    In response to paragraph 47, Cohesity has improperly exaggerated its
       claim for monetary relief as exceeding $50,000. To the extent that
       Cohesity is entitled to any monetary relief, which is denied, such
       entitlement is to an amount that is less than $50,000.

17.    In response to paragraphs 43, 44 and 48 and all other allegations in the
       Counterclaim, Cohesity has commenced this Counterclaim in an effort to
       intimidate and stifle the legitimate enforcement efforts of a small
       Canadian business which has done nothing but seek to enforce its Helios
       Trademark in accordance with the law.



 Dated:     December 18, 2024

                                                             V
                                                       //
                                                    Wefetpoint Law Group
                                                    Barristers & Solicitors
                                                    Suite 2200, 1177 West Hastings Street
                                                    Vancouver, B.C. V6E 3T4

                                                    Polina H. Furtula



                                                    Telephone; 604-718-6886
                                                    Email:
                                                    service@westpointlawgroup.com


                                                    Solicitors for the defendant by
                                                    counterclaim




 TO:             Cohesity, Inc.
                 c/o Gowlings (Canada) LLP
                 Suite 2600-160 Elgin Street
Case 4:24-cv-09104-JST       Document 19-1    Filed 04/01/25    Page 65 of 94




         Ottawa, Ontario K1P 1C3

         Monique Couture
         Monique.Couture@gowfingwlg.com
         Tel: 613.786.0183


         Martha J. Savoy
         Martha.Savoy@gowlingwlg.com
         Tel. 613.786.0180
         Counsel for the Defendant/Plaintiff by Counterclaim Cohesity, Inc.
Case 4:24-cv-09104-JST   Document 19-1   Filed 04/01/25   Page 66 of 94




               EXHIBIT E
  Case 4:24-cv-09104-JST    Document 19-1   Filed 04/01/25   Page 67 of 94




                                                       Court File No. T-2636-24

                             FEDERAL COURT



BETWEEN:



                           CARTESIAN THEATRE CORP.

                                                                         Plaintiff

                                   -and-




                             COHESITY, INC.
                                                                      Defendant




AND BETWEEN:

                             COHESITY, INC.

                                                        Plaintiff by Counterclaim


                                   -and-



                           CARTESIAN THEATRE CORP.



                                                      Defendant by Counterclaim




                  REPLY TO DEFENCE TO COUNTERCLAIM




                                     1
     Case 4:24-cv-09104-JST          Document 19-1        Filed 04/01/25       Page 68 of 94




       The Defendant/Plaintiff by Counterclaim, Cohesity, Inc., (“Cohesity”) repeats and relies
       upon all the allegations set forth in Cohesity’s Statement of Defence and Counterclaim
       dated November 18, 2024.


2.     Cohesity denies all allegations in the Plaintiff/Defendant by Counterclaim, Cartesian
       Theatre Corp.’s {“Cartesian”) Defence to Counterclaim dated December 18, 2024 (the
       “Defence to Counterclaim”).

3.     With respect to paragraph 3 of the Defence to Counterclaim Cohesity states that the
       decision not to oppose a trademark application has no bearing on whether a party can seek
       to invalidate a trademark registration pursuant to section 18 of the Canadian Trademarks
       Act.



4.     With respect to paragraphs 4 and 15 of the Defence to Counterclaim Cohesity states that
       Cartesian has no basis for seeking increased costs. Cohesity’s allegations in its Statement
       of Defence and Counterclaim are valid and properly asserted.

5.     With respect to paragraph 6 of the Defence to Counterclaim Cohesity specifically denies
       the allegation that Cohesity does not own any trademark for HELIOS, COHESITY
       HELIOS or any other HELIOS-fonnative marks in Canada. Cohesity specifically repeats
       and relies on the allegations set forth at paragraphs 13 and 14 of the Statement of Defence
       and Counterclaim in this regard.

6.     Cohesity specifically denies the allegations at paragraph         17 of the Defence to
       Counterclaim. Cartesian commenced a frivolous proceeding against Cohesity in an attempt
       to improperly monopolize the HELIOS trademark. Cohesity is entitled to defend itself in
       this proceeding, to seek the relief detailed at paragraph 29 of the Statement of Defence and
       Counterclaim including damages and costs for Cartesian’s improper conduct.




                                                2
   Case 4:24-cv-09104-JST            Document 19-1           Filed 04/01/25   Page 69 of 94




Dated at Ottawa, Ontario, this \5'-^ day of January, 2025.




                                              COWLING WLG (CANADA) LLP
                                              Barristers and Solicitors
                                              Suite 2600“ 160 Elgin Street
                                              Ottawa, Ontario KIP 1C3

                                              Monique Couture
                                              Monique.Couture@uowlimiwlti.coin
                                              Tel: 613.786.0183


                                              Martha J. Savoy
                                              Martha.Savov@gowlingwlg.com
                                              Tel. 613.786.0180


                                              Counsel for the Defendant/Plaintiff by Counterclaim
                                              Cohesity, Inc.


TO:    WESTPOINT LAW GROUP

       Barristers and Solicitors
       2200-1177 West Hastings Street
       Vancouver. BC, V6E 3T4

       Polina H. Furtula
       service@westpointeiawgroup.com
       Tel: 604.718.6886


       Counsel for the Plaintiff / Defendant by Counterclaim
       Cartesian Theatre Corp.




                                                 3
Case 4:24-cv-09104-JST   Document 19-1   Filed 04/01/25   Page 70 of 94




               EXHIBIT F
             Case 4:24-cv-09104-JST              Document 19-1              Filed 04/01/25         Page 71 of 94




    APPL'N/DEM. NO                      2 013 787      REGISTRATION/ENREGISTREMENT NO TMA1,260,843


   FILING DATE/DATE DE PRODUCTION:                                                                          25 fev/Feb 2020
   REGISTRATION DATE/DATE D'ENREGISTREMENT:                                                                 04 oct/Oct 2024


   REGISTRANT/PROPRIETAIRE ORIGINAL:
   Cartesian Theatre Corp.
   108-2115 Cypress St.
   Vancouver
   BRITISH COLUMBIA
   V6J 3M3


   AGENT:
   SEASTONE IP LLP
   Suite 520 - 800 West Pender Street
   Vancouver
   BRITISH COLUMBIA V6C 2V6


   TRADEMARK DETAILS/DETAILS DE LA MARQUE DE COMMERCE


             HELIOS
   TRADEMARK TYPE/TYPE DE MARQUE DE COMMERCE

    Standard Characters




   GOODS/PRODUITS:

    9    Computer software and databases for use in analyzing music.


   SERVICES;

    42   Software as a service for music analysis and management; advisory services in the field of music software
         development.




04 oct/Oct 2024                                              JF - 93 ■ 94                                            Page 1
Case 4:24-cv-09104-JST   Document 19-1   Filed 04/01/25   Page 72 of 94




               EXHIBIT G
                  Case 4:24-cv-09104-JST                            Document 19-1                   Filed 04/01/25                Page 73 of 94



         Generated on: This page was generated by TSDR on 2024-08-31 20:41:42 EDT
                 Mark:    HELIOS




                                                                                                                                               HELIOS
  US Serial Number:       98724373                                                   Application Filing Aug. 29, 2024
                                                                                                   Date:

              Register: Principal
            Mark Type: Trademark. Service Mark
        TM5 Common Status                                                         LiVE/APPLICATiON/Awaiting Examination
                 Descriptor:
                                                                                  The trademark application has been accepted by the Office (has met the
                                                                                  minimum filing requirements) and has not yet been assigned to an examiner.


                Status:   New application awaiting assignment to an examining attorney. See current trademark processing wait times for more information.

          Status Date: Aug. 29, 2024


                                                                    Mark Information

           Mark Literal   HELIOS
             Elements:

 Standard Character       Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
                Claim:

         Mark Drawing 4 - STANDARD CHARACTER MARK
                 Type:

                                                                   Goods and Services

Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
    ● Brackets [..] indicate deleted goods/services;
    ● Double parenthesis ({..)) identify any goods'services not claimed in a Section 15 affidavit of incontestability; and
    ● Asterisks      identify additional (new) wording in the goods'services.

                   For:   Downloadable computer software and databases for use in analyzing music
          International   009 ● Primary Class                                            U.S Class(es); 021, 023. 026. 036, 038
             Class(es):
         Class Status:    ACTIVE

                Basis:    1(a)
             First Use:   Mar. 25, 2016                                             Use in Commerce:       Mar. 25. 2016

                   For:   Software as a service (SaaS) services featuring computer software for music analysis and management; advisory services in the field
                          of music software development
          International   042 - Primary Class                                            U.S Class(es): 100.101
             Class(es):
         Class Status:    ACTIVE

                Basis:    1(a)
             First Use:   Nov. 29. 2021                                             Use in Commerce:       Nov. 29. 2021


                                                        Basis Information (Case Level)
             Filed Use:   Yes                                                           Currently Use: Yes
             Filed ITU:   No                                                             Currently ITU:    No
             Filed 44D:   No                                                            Currently 44D:     No
             Filed 44E:   No                                                            Currently 44E: No
             Filed 66A:   No                                                            Currently 66A:     No
        Filed No Basis:   No                                                       Currently No Basis; No
                  Case 4:24-cv-09104-JST                       Document 19-1                Filed 04/01/25        Page 74 of 94




                                                     Current Owner(s) Information
          Owner Name: Cartesian Theatre Corp.

    Owner Address: 108 - 2115 Cypress St.
                          Vancouver CANADA V6J3M3

   Legal Entity Type: CORPORATION                                              State or Country CANADA
                                                                             Where Organized:

                                              Attorney/Correspondence Information
                                                                       Attorney of Record
     Attorney Name: Jessica S. Sachs                                           Docket Number:      19143M-2-2

    Attorney Primary trovmailroom@harnessip.com                                 Attorney Email Yes
      Email Address:                                                               Authorized:

                                                                         Correspondent
      Correspondent       Jessica S. Sachs
     Name/Address:        Harness. Dickey & Pierce. PLC
                          5445 Corporate Drive. Suite 200
                          Troy. MICHIGAN United States 48098
                Phone:    248-641-1600

   Correspondent e- tfovmailroom@harnessiD.com isachs@harnessip.              Correspondent e- Yes
                  mail:   com hrowe@harnessip.com aQrubb@harnessip.c           mail Authorized:
                          om


                                                                  Domestic Representative
     &nbspDomestic Jessica S. Sachs                                                       Phone:   248-641-1600
      Representative
                Name:


    &nbspOomestic trovmailroom@harnessip.com                                   &nbspDomestic Yes
   Representative e-                                                          Representative e*
                  mail:                                                        mail Authorized:


                                                               Prosecution History
   Date
                                                                                                                                  Proceeding
                      Description                                                                                                 Number

Aug. 29, 2024      NEW APPLICATION ENTERED


                                                 TM Staff and Location Information

                                                                 TM Staff Information - None

                                                                          File Location

   Current Location:      Not Found                                           Date in Location:    Not Found
        Case 4:24-cv-09104-JST                             Document 19-1               Filed 04/01/25              Page 75 of 94




                     Tradeitiark/Service Mark Application, Principal Register
                                                            Serial Number: 98724373

                                                            Filinj« Date: 08/29/2024



                                          The table below presents the data as entered.

                               Input Field                                                               Entered

SERIAL NUMBER                                                             98724373

MARK INFORMATION

 MARK                                                                     HELIOS

STANDARD CHARACTERS                                                       YES

USPTO-GENERATED IMAGE                                                     YES

LITERAL ELEMENT                                                           HELIOS

                                                                          The mark consists of standard characters, without claim to any
MARK STATEMENT
                                                                          particular font style, size, or color.
REGISTER                                                                  Principal
APPLICANT INFORMATION

 OWNER OF MARK                                                            Cartesian Theatre Corp.
 MAILING ADDRESS                                                          108-2115 Cypress St.
 CITY                                                                     Vancouver

 COUNTRY/REGION/JURISI)ICTION/U.S. TERRITORY                              Canada

 ZIP/POSTAL CODE
                                                                          V6J3M3
(Required for U.S. and certain international addres.ses)

 EMAIL ADDRESS                                                            xxxx


LEGAL ENTITY INFORMATION

T\'PE                                                                     corporation
STATE/COUNTRY/REGION/JURISDICTION/U.S. TERRITORY OF
                                                                          Canada
INCORPOR.ATION

GOODS AND/OR SERVICES AND BASIS INFORMATION

INTERNATIONAL CLASS                                                       009


 IDENTIFICATION
                                                                          Downloadable computer software and databases for use in
                                                                          analyzing music
FILING BASIS                                                              SECTION 1(a)

    FIRST USE ANYWHERE DATE                                               At least as early as 03/25/2016
    FIRST USE IN COMMERCE DATE                                            At least as early as 03/25/2016
    SPECIMEN FILE NAME(S)

                                                                          \\TICRS\EXPORT 18\1M AGEOUT
    JPG FILE(S)
                                                                          18\987\243\98724373\xml 1 \ APP0006.JPG

                                                                          SPEO-7420466100-202408291 44704486168_._Class_9_Spe
        Case 4:24-cv-09104-JST          Document 19-1        Filed 04/01/25         Page 76 of 94



   ORIGINAL PDF FILE
                                                 cimen.pdf

   CONVERTED PDF FILE(S)                         \\TICRS\EXPORT18\IMAGEOUT
   (3 pages)                                     18\987\243\98724373Uml 1\ APP()003.JPG

                                                 \\TICRS\EXPORT 18\1M AGEOUT
                                                 18\987\243\98724373\xml l\ APP00()4.JPG

                                                 \\TICRS\EXPORT 18\IM AGEOUT
                                                 18\987\243\98724373\xml 1\ APP0005.JPG


   SPECIMEN DESCRIPTION
                                                 Priniout and screenshot of website showing use of the mark in
                                                 connection with the goods
   WEBPAGE URL                                   https://heliosmusic.io/pages/download/
   WEBPAGE DATE OF ACCESS                       . 08/29/2024

INTERNATIONAL CLASS                              042


                                                 Software as a service (SaaS) services featuring computer
idp:ntification                                  software for music analysis and management; advisory
                                                 services in the field of music software development
FILING BASIS                                     SECTION 1(a)

   FIRST USE ANYWHERE DATE                       At least as early as 11/29/2021
   FIRST USE IN COMMERCE DATE                    At least as early as 11/29/2021
                                                 \\T1CRS\EXP0RTI8\1M AGEOUT
   SPECIMEN FILE NAME(S)
                                                 18\987\243\98724373\xml I \ APP0007.JPG

                                                 \\T1CRS\EXP0RTI8\1MAGE0UT
                                                 18\987\243\98724373\xml I \ APP0008.JPG


   SPECIMEN DESCRIPTION
                                                 Screenshots of website showing use of the mark in connection
                                                 with the services

   WEBPAGE URL                                   https://demo.heliosmusic.io
   WEBPAGE DATE OF ACCESS                        08/29/2024

ATTORNEY INFORMATION

NAME                                             Jessica S. Sachs

ATTORNEY DOCKET NUMBER                           19I43M-2-2

ATTORNEY BAR MEMBERSHIP NUMBER                   XXX

YEAR OF ADMISSION                                XXXX

U.S. STATE/ COMMONWEALTH/ TERRITORY              XX

FIRM NAME                                        Harness, Dickey & Pierce. PLC
STREET                                           5445 Corporate Drive. Suite 200
CITY                                             Troy
STATE                                            Michigan
COUNTRY/REGION/JURISD1CT10N/U.S. TERRITORY       United States

ZIP/POSTAL CODE                                  48098

PHONE                                            248-641-1600

EMAIL ADDRESS                                    troymailroom@hamessip.com

                                                 Bryant E. Wade and all other attorneys associated with
        Case 4:24-cv-09104-JST           Document 19-1       Filed 04/01/25           Page 77 of 94



OTHER APPOINTED ATTORNEY
                                                  Harness, Dickey & Pierce, PLC
DOMESTIC REPRESENTATIVE INFORMATION

NAME                                              Jessica S. Sachs

FIRM NAME                                         Harness. Dickey & Pierce, PLC
STREET                                            5445 Corporate Drive. Suite 200
CITY                                              Troy
STATE                                             Michigan
COUNTRY/REGION/JURISDICTION/U.S. TERRITORY        United States

ZIP CODE                                          48098

PHONE                                             248-641-1600

EMAIL ADDRESS                                     troymailroom@hamessip.com
CORRESPONDENCE INFORMATION

NAME                                              Jessica S. Sachs

PRIMARY EMAIL ADDRESS FOR CORRESPONDENCE          troymailroom@hamessip.com

SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES)
                                                  jsachs@hamessip.com; hrowe@hamessip.com;
                                                  agrubb@hamessip.com
FEE INFORMATION

APPLICATION FILING OPTION                         TEAS Standard

NUMBER OF CLASSES                                 2

APPLICATION FOR REGISTRATION PER CLASS            350

TOTAL FEES DUE                                    700

TOTAL FEES PAID                                   700

SIGNATURE INFORMATION

SIGNATURE                                         /JSS/

SIGNATORY'S NAME                                  Jessica S. Sachs


SIGNATORY'S POSITION
                                                  Attorney for Applicant. Michigan Bar Member, Attorney at
                                                  Harness, Dickey & Pierce. PLC
SIGNATORY'S PHONE NUMBER                          248-641-1600

DATE SIGNED                                       08/29/2024

SIGNATURE METHOD                                  Sent to third party for signature
                  Case 4:24-cv-09104-JST                  Document 19-1                Filed 04/01/25           Page 78 of 94




                                     Trademark/Service Mark Application, Principal Register

                                                             Serial Number: 98724373

                                                             Filing Date: 08/29/2024
To the Commissioner for Trademarks:

MARK: HELIOS (Standard Characters, see mark)
The literal element of the mark consists of HELIOS. The mark consists of standard characters, without claim to any particular font style, size, or
color.
The applicant, Cartesian Theatre Corp., a corporation of Canada, having an address of
    108-2115 Cypress St.
    Vancouver V6J3M3
    Canada
    xxxx


requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5. 1946 (15 U.S.C. Section 1051 et seq.). as amended, for the following:

International Class 009; Downloadable computer software and databases for use in analyzing music

In International Class 009, the mark was first used by the applicant or the applicant's related company or licensee or predecessor in interest at
least as early as 03/25/2016. and first used in commerce at least as early as 03/25/2016, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) Printout and screenshot of website showing use of the mark in connection with the goods.
JPG nie(s):
Specimen File I
Original PDF file:
.SI‘L(l-7420466100-202408291 44704486168         Class 9 Spe cimen.pdf
Converted PDF file(s) (3 pages)
Specimen Filcl
Specimen File2
Specimen File3
Webpage URL; https://heliosmusic.io/pages/download/
Webpage Date of Access: 08/29/2024

International Class 042: Software as a service (SaaS) services featuring computer software for music analysis and management; advisory
services in the field of music software development

In International Class 042, the mark was first used by the applicant or the applicant's related company or licensee or predecessor in interest at
least as early as 11/29/2021. and first used in commerce at least as early as 11/29/2021. and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) Screenshots of website showing use of the mark in connection with the services.
Specimen Filel
Specimen File2
Webpage URL: https://demo.heliosmusic.io
Webpage Dale of Access: 08/29/2024



The owner'.s/holder's proposed attorney information: Jessica S. Sachs. Other appointed attorneys are Bryant E. Wade and all other attorneys
associated with Harness, Dickey & Pierce. PLC. Jessica S. Sachs of Harness, Dickey & Pierce, PLC, is a member of the XX bar. admitted to the
bar in XXXX. bar membership no. XXX. and the attomey(s) is located at
    5445 Corporate Drive. Suite 200
    Troy. Michigan 48098
    United States
                 Case 4:24-cv-09104-JST                   Document 19-1               Filed 04/01/25            Page 79 of 94



   248-641 -1600(phone)
   troymailroom@hamessip.com
The docket/reference number is 19143M-2-2.
Jessica S. Sachs submitted the following statement: The attorney of record is an active member in good standing of the bar of the highest court of
a U.S. state, the District of Columbia, or any U.S. Commonwealth or territory.

The applicant hereby appoints Jessica S. Sachs of Harness, Dickey & Pierce. PLC
   5445 Corporate Drive. Suite 200
   Troy Michigan 48098
   United States

    248-641-1600(phone)
    troymailroom@hamessip.com
as applicant's representative upon whom notice or process in the proceedings affecting the mark may be served.

The applicant's current Correspondence Information:
   Jessica S. Sachs

    PRIMARY EMAIL FOR CORRESPONDENCE: troymailroom@hamessip.com
    SECONDARY EMAIL ADDRESS(ES) (COURTESY COPIES): jsachs@harnessip. com; hrowe@harnessip.com; agmbb@harnessip.com


Requirement for Email and Electronic Filing: I understand that a valid email address must be maintained by the applicant owner/holder and
the applicant owner’s/holder's attorney, if appointed, and that all official trademark correspondence must be submitted via the Trademark
Electronic Application System (TEAS).
A fee payment in the amount of $700 has been submitted with the application, representing payment for 2 class(es).

                                                                   Declaration


        Basis:
        If the applicant is filing the application based on use in commerce under 15 U.S.C. § 1051(a):

            ● The signatory' believes that the applicant is the owner of the trademark/service mark sought to be registered:
            ● The mark is in use in commerce and was in use in commerce as of the filing date of the application on or in connection with the
              good.s/services in the application;
            ● The specimen(s) shows the mark as used on or in connection with the goods/services in the application and was used on or in
              connection with the goods/services in the application as of the application filing date; and
            ● To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.

        And/Or
        If the applicant is filing the application based on an intent to use the mark in commerce under 15 U.S.C. § 1051(b), § 1126(d),
        and/or § 1126(e):

            ● The signatory believes that the applicant is entitled to use the mark in commerce;
            ● The applicant has a bona fide intention to use the mark in commerce and had a bona fide intention to use the mark in commerce as
              of the application filing date on or in connection with the goods/services in the application; and
            ● To the best of the signatory's knowledge and belief, the facts recited in the application are accurate.
        To the best of the signatory's knowledge and belief, no other persons, except, if applicable, concurrent users, have the right to use the
        mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the
        goods/services of such other persons, to cause confusion or mistake, or to deceive.
        To the best of the signatory’s knowledge, information, and belief, formed after an inquiry reasonable under the circumstances, the
        allegations and other factual contentions made above have evidentiary support.
        The signatory being warned that willful false statements and the like are punishable by fine or imprisonment, or both, under 18 U.S.C. §
        1001. and that such willful false statements and the like may jeopardize the validity of the application or submission or any registration
        resulting therefrom, declares that all statements made of his/her own knowledge are true and all statements made on information and
        belief are believed to be true.

Declaration Signature

Signature: /JSS/ Date: 08/29/2024
Signatory's Name: Jessica S. Sachs
Signatory's Position: Attorney for Applicant. Michigan Bar Member. Attorney at Harness. Dickey & Pierce. PLC
                Case 4:24-cv-09104-JST                Document 19-1   Filed 04/01/25   Page 80 of 94



Signatory's Phone Number: 248-641-1600
Signature method: Sent to third party for signature
Payment Sale Number: 98724373
Payment Accounting Date: 08/29/2024

Serial Number: 98724373
Internet Transmission Date: Thu Aug 29 15:31:53 ET 2024
TEAS Stamp: USPTO/BAS-XX.XXX.XX.XXX-2024082915315405
0l23-98724373-87024438dde23d82fa6423d695
566823b9c918b2d6!17e9167f21 f3f03b9cd890-
DA-31538223-20240829152548295698
Case 4:24-cv-09104-JST   Document 19-1   Filed 04/01/25   Page 81 of 94




    HELIOS
          Case 4:24-cv-09104-JST           Document 19-1            Filed 04/01/25      Page 82 of 94



8/29/24. 2:38 PM                                           Download | Helios




                                           Download


     Helios Server


    To obtain either an on-premise or hosted Helios server, please contact sales
    (mailto:sales@heliosmusic.io).


    Installation with default out of the box configuration usually takes under a minute to get up and
    running. Simply run the following on the installation target which has access to the server package
    repository:



       $ sudo apt install hellos




    This will download, configure, and install the server as a normal system service.




     Helios Client Utilities


    This is a set of command line utilities for interacting with a Helios server. You can use them to
    manage your music catalogue as well as perform similarity matches. They use the Helios Python SDK
    (https://github.com/cartesiantheatre/python-helios-client) and can be used as examples for
    developing your own applications that use the Helios REST API.

    To install run the following on Ubuntu Mantic (23.10) or later:


https://heliosmuslc.lo/pages/download/                                                                    1/3
         Case 4:24-cv-09104-JST              Document 19-1         Filed 04/01/25      Page 83 of 94


8/29/24, 2:38 PM                                          Download ] Helios



       $ sudo add-apt-repository ppa:kip/helios-public
       $ sudo apt install helios-client-utilities




    The utilities are fully documented and each come with their own manual. Tr>' nmning the followng:



       $ man hellos




    The module's source code is fully available (https://github.com/cartesiantheatre/python-helios-
    client) gratis under the terms of the GNU Lesser General Public License (LGPL)
    (https://www.gnu.Org/licenses/lgpl-3.0.html) for use, study, redistribution, or modification within any
    commercial product.




     Helios Python SDK

    A client side Helios software development kit (SDK) has already been prepared for you to enable
    rapidly integrating Helios into your own platform in the form of an easy to use pure Python module.
    It is pre-packaged for Ubuntu Hirsute (21.04) and later.

    The purpose of the module is to provide an API to Python applications to communicate with a
    remote Helios server. In only a few lines of code you can manage your music catalogue and perform
    similarity matches.


    To install it in seconds simply run the following:



       $ sudo add-apt-repository ppa:kip/helios-public
       $ sudo apt install python3-helios-client




    To use the module, it's as simple as:



       $ pythons
       >>> import hellos


https://heliosmuslc.io/pages/download/                                                                        2/3
          Case 4:24-cv-09104-JST             Document 19-1            Filed 04/01/25      Page 84 of 94


8/29/24, 2:38 PM                                             Download | Helios

       »> from pprint import pprint
       >>> client ® helios.client(host="your_server_hostname")
       >>> status = client.get_server_status()
       >>> pprint(status)




    The module's source code is fully available (https://github.com/ cartesiantheatre/python-helios-
    client) gratis under the terms of the GNU Lesser General Public License (LGPL)
    (https://www.gnu.Org/licenses/lgpl-3.0.html) for use, study, redistribution, or modification within any
    commercial product.




     REST API Documentation


    The Helios server sports a simple to use industry-standard REST API. You can find documentation
    available here (https://www.heliosmusic.io/api.html).




                                                                        (https://www.cartesiantheatre.com)




https://heliosmusic.io/pages/download/                                                                        3/3
               Case 4:24-cv-09104-JST                                       Document 19-1                                       Filed 04/01/25                               Page 85 of 94

<6   0   0 »mi»»                                             Dc»f4Mdl HMM                                                                                                                                           9        X


 O   O     0                                                                                                                                                                         :s   o   O   CD   {>   %   «   '●■     O
                                                                                                                                                                                                                          , Q.
                       (J)helios                                                        HOIC            Mooua       COMPMfr        OCMO       /Ml      CDNTjtfruS      m3        Q




                                                                                                                                                                                                                            i>

                                                                                                                                                                                                                            o
                                                                                         Download
                                                                                                                                                                                                                            V


                       Helios Server
                                                                                                                                                                                                                            +

                       To obtom «nhcr <        pr«fnw     hoMed HH*o% wvrr. ple»p coouct        t ’■■


                       in44iUtion w«H cMauK out of the box cordtgurtfton u%ua»r (ok«ft under « mtnute to fet up end njnn*i|^ Ump^^ \      . the foHowir^ on the moebUon target
                       MhKh h«s octeu to the server porluige repository


                               «fi          ftellM




                       TN&wdI downiQsd. tonfi^e. and Instate the servers* a        rmsi eyUem scrvKP.




                       Helios Client Utilities

                       rhtftiss Mt of CQfnrrundline uukwsfor interacortfMhs Hellos server. You rsn inr              m mnruf r j-niirminif miihupr i~ wriai prtfniin
                       rr>«che& They i0ethe                       sndi    be trted as exsrrtptet hx d^lcptnc your        applcsooro (hoc usethe Heftos nsr API.

                       Toetslol      I the toianee^j* on UtourKu Mmc t23.Vn or Isier.
Case 4:24-cv-09104-JST   Document 19-1   Filed 04/01/25   Page 86 of 94
                  Case 4:24-cv-09104-JST                          Document 19-1                                   Filed 04/01/25   Page 87 of 94


^ j O k 0 Tf*4e-»irt               .'‘J   A   H«t«i
                                                      ●F                                                                                                        a   X


 O    Cl     £)   hn^'.dtfT'oM'wnubCio                                                                                              A'   ca   £?   0   01   ^       O
                                                                                                                                                                    0.




                                                                                                                                                                    1>

                                                                                                                                                                    o

                                                                                                                                                                    ft




                                                                                 Let’s Connect

                                                             Pledw «nter an API key Is conn«l to Itie Hetios writer. Pleose
                                                           conoci wppoft if you would bke to request a key or if the one you
                                                                              were gnen Is not workir^




                                                              Suppon




                                                                                                                                                                    a


                                                                                                                                                                    e
Case 4:24-cv-09104-JST   Document 19-1   Filed 04/01/25   Page 88 of 94




    HELIOS
          Case 4:24-cv-09104-JST           Document 19-1            Filed 04/01/25      Page 89 of 94


8/29/24, 2:38 PM                                           Download | Helios




                                           Download


     Helios Server


    To obtain either an on-premise or hosted Helios server, please contact sales
    (mailto:sales@heliosmusic.lo).

    Installation with default out of the box configuration usually takes under a minute to get up and
    running. Simply run the following on the installation target which has access to the server package
    repository:



       i sudo apt install hellos




    This will download, configure, and install the server as a normal system service.




     Helios Client Utilities

    This is a set of command line utilities for interacting with a Helios server. You can use them to
    manage your music catalogue as well as perform similarity matches. They use the Helios Python SDK
    (https://github.com/cartesiantheatre/python-helios-client) and can be used as examples for
    developing your own applications that use the Helios REST API.

    To install run the following on Ubuntu Mantic (23.10) or later:


https://heliosmusic.io/pages/download/                                                                    1/3
          Case 4:24-cv-09104-JST             Document 19-1          Filed 04/01/25     Page 90 of 94


8/29/24, 2:38 PM                                           Download | Helios



       $ sudo add-apt-repository pparkip/helios-public
       $ sudo apt install helios-client-utilities




    The utilities are fully documented and each come with their own manual. Tiy- running the followng:



       $ man helios




    The module's source code is fully available (https://github.com/ cartesiantheatre/python-helios-
    client) gratis under the terms of the GNU Lesser Generai Public License (LGPL)
    (https://www.gnu.Org/licenses/lgpi-3.0.html) for use, study, redistribution, or modification within any
    commercial product.




     Helios Python SDK

    A client side Helios software development kit (SDK) has already been prepared for you to enable
    rapidly integrating Helios into your own platform in the form of an easy to use pure Python module.
    It is pre-packaged for Ubuntu Hirsute (21.04) and later.

    The purpose of the module is to provide an API to Python applications to communicate with a
    remote Helios server. In only a few lines of code you can manage your music catalogue and perform
    similarity matches.

    To install it in seconds simply run the following:



       $ sudo add-apt-repository ppa:kip/helios-public
       $ sudo apt install python3-helios-client




    To use the module, it's as simple as:



       i pythonB
       >>> import helios


https://heliosmusic.io/pages/download/                                                                        2/3
          Case 4:24-cv-09104-JST             Document 19-1           Filed 04/01/25      Page 91 of 94


8/29/24, 2:38 PM                                            Download | Helios

       >>> from pprint import pprint
       >» client = helios.client(host»"your_server_hostname")
       >>> status = client.get_server_status()
       >>> pprint(status)




    The module's source code is fully available (https://github.com/ cartesiantheatre/python-helios-
    client) gratis under the terms of the GNU Lesser Genera! Public License (LGPL)
    (https://www.gnu.Org/licenses/lgpl-3.0.html) for use, study, redistribution, or modification within any
    commercial product.




     REST API Documentation


    The Helios server sports a simple to use industry-standard REST API. You can find documentation
    available here (https://www.heliosmusic.io/api.html).




                                                                       (https://www.cartesiantheatre.com)




https://heliosmusic.io/pages/download/                                                                        3/3
             Case 4:24-cv-09104-JST                                                          Document 19-1                               Filed 04/01/25                                  Page 92 of 94

                                                                                                   .   +
                                                                                                                                                                                                                             IZD
C   tt   O   Mt04.jh«bMrTHiwc*Q p#g«V4^«ri^M'                                                                                                                                                A'   re   </   o   (t)   (●<&<«■■■       O
                                                                                                                                                                                                                              ■i ®-
                                     (J)helios                                                         HM         nooucT     OMMMr         HMO                CQ^AaUS          »0        Q




                                                                                                                                                                                                                                      0
                                                                                                       Download


                                      Heltos Server
                                                                                                                                                                                                                                      +

                                      focb<«n «4her     I on petmiK w honied Mdkw wyvgf, p4pa«econua .        ●

                                     rmtdHdCion wnt) dv<iiuh out o( the boa ccMiftfUfation      takn          ninme lo get up and runnkif S«mp^    me toMcwiftoft ftw wistoiaUon taryc
                                     which hAJKcnf ot the ser>^ par k^ge rvpQMtwy;


                                                  t'Hieu x«:)




                                      thrt wM downlcwd configure, oral Inttail the servers a normal system service.




                                      Helios Client Utilities

                                      fhes o ● ott of commend hne uoiim eft imerattmg iwth e HeHos server. You         ' them ot menace your muuc caUlopies wei et perform ^enfardy
                                      prtolrhe% Ihfyinethe Mellot Python 5 > end r«n be utod scaampfes for developing your         eppttcahona lhai I theHetosKIsr AH.


                                     To krr>faa    thefolkrmng on Utamuj MantK 123 101 or l«er
                                                                                                                                                                                                                                      CD


                                                                                                                                                                                                                                      G


                                                                                                                                                                                                                                  -   ®
Case 4:24-cv-09104-JST        Document 19-1   Filed 04/01/25   Page 93 of 94

                  B   O   ®
Case 4:24-cv-09104-JST   Document 19-1   Filed 04/01/25   Page 94 of 94


                                                                                               o
                                                                                                    e

                                                                                               s>   o.
                                                                                                    o
                                                                                               t>   }●




                                                                                                    +




                                                           i?




                                                                                                        I
                                                                   ill      A


                                                                      IFi   r>
                                                                   51* ●
                                                                      B     O
                                                                            3



                                                                      a «


                                                                                                    4
                                                                      I*
                                                                      i




                                                                                               O’


                                                                                               o


                                                                                               e

                                                                                               o




                                                                                               <6   <i-’

                                                                                                    4



                                             s   a   g                           +
                                                                                     «eio'Ea«P)9    X




                                                                                                            (
